Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 1 of 136

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA. “ZI APR FL: > Us 12

MN SNC-EDPA

CONFERENCE OF PRESIDENTS, et al.,

Plaintiffs CASE NO. 2:21-cv-01609

JEFFREY CUTLER

V.

CITY OF PHILADELPHIA , ef al.
JURY TRIAL REQUESTED

)
:
Intervenor Plaintiff )
)
Defendants )

MOTION TO INTERVENE, AND INJUNCTIVE RELIEF
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,
alteration, or falsification of records), 18 U.S. Code § 872 -
EXTORTION BY OFFICERS OR EMPLOYEES OF THE
UNITED STATES, 18 U.S.C. § 3 ACCESSORY AFTER THE FACT
MURDER,BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY JUDGEMENT

PAGE 1 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 2 of 136

Here comes Jeffrey Cutler, Paintiff-Intervenor in this case based on the United States
Constitution Ammend 1, for Redress of Grievances and preservation of the
Establishment Clause, Mr. Cutler files THIS MOTION MOTION TO
INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.
Code § 1519 - Destruction, alteration, or falsification of records), 18 U.S. Code §
872 - EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED
STATES, 18 U.S.C. § 3 ACCESSORY AFTER THE FACT MURDER,
BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT, to correct for new crimes and OBSTRUCTION of JUSTICE
recently discovered. On 17MAR2021 time stamped 1:26 PM Mr. Cutler filed a 347
Page PETITION FOR ENBANC HEARING BECAUSE OF CRIMES (18 USS.
Code § 1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-
1,MAIL FRAUD EQUAL PROTECTION AND TO COMBINE CASES FOR
JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in case 20-1805
USCA third circuit. Instead of granting a hearing the CLERK’s OFFICE of the

USCA issued an ORDER that granted Mr. Cutler, the ability to PAY 505.00 without
resinding the order dismissing case 20-1805 (ECF 52). To garner a hearing before an
ENBANC COURT, Mr. Cutler filed a 356 page EMERGENCY EXPEDITED
PETITION FOR ENBANC HEARING BECAUSE OF CRIMES (18 U.S. Code §

1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1,

PAGE 2 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 3 of 136

MAIL FRAUD EQUAL PROTECTION AND TO COMBINE CASES FOR
JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in case 19-1842
USCA third circuit, time stamped 06APR2021 at 2:46 PM (first 67 pages attached)
Someone from the clerk’s office acknowledged they got the document at 4:10 PM
06APR2021. Mr. Cutler emailed the PDF of the stamped copy to all parties in the
case as well as over 400 individuals. On LIMAR2021 JEFFREY CUTLER FILED A

MAIL FRAUD COMPLAINT AGAINST THE PEOPLES REPUBLIC OF

 

CHINA FOR CLAIMING THEY REFUSED A 321 PAGE MOTION TO
INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code
§ 1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1 &
MAIL FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT in case #1:20-cv-00099 in the UNITED STATES
DISTRICT COURT FOR THE EASTERN DISTRICT OF MISSOURI received on
or near 16FEB2021 at their embassy in Washington, DC (tracking 9505 5141 4909
1042 6153 86) at their DC Embassy (3505 International Place, NW) and after
opening the document one week later (24FEB2021) claimed the document was
REFUSED in a conspiracy with the POST OFFICE to CHEAT the UNITED
STATES GOVERNMENT of RETURN POSTAGE and follow the LAWS of the
UNITED STATES OF AMERICA. This effectively PUTS the PEOPLES
REPUBLIC OF CHINA in DEFAULT for violating the LAWS of the UNITED

STATES and shows they have been properly served and the return of the document

PAGE 3 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 4 of 136

equates to a Waiver of Service. Inside the document was a 193 page report that
COVID-19 is LAB DERIVED and JEFFREY CUTLER was claiming CHINA has
engaged in Bio-Warfare with the WORLD based on a previous actions with
HEPARIN and pet food and that the testing supplies are tainted and may be
spreading the disease in the United States. The media and political leaders have been
BRIBED to go along with MASKS and distance are the ONLY cure when
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 and FLU that result in DEATH from pneumococcal disease and
Ivermectin to treat the COVID-19 <ref>

https://www.covid 1 9treatmentguidelines.nih.gov/antiviral-therapy/ivermectin/ </ref> Watch
httos://www.youtube.com/watch?vemgClesF_zuk for more information and read comments
sorted newest first. Also see <ref> https://www.americanfreedomlawcenter.ora/case/ieffrey-cuiler-
v-u-s-dept-of-health-human-services/ </ref> and <ref> hitos://www.brennancenter.org/legal-
work/corman-v-torres </ref> <ref> https://recistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf
</ref><ref> hittos://www.pacermonitor.com/public/case/27231978/CUTLER_v PELOSI et al </ref> As
an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler
declares the actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a
concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a
Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper
on 240CT2018 page 15 :titled “SAVE BILL COSBY”. On 03JAN2019 [[Nancy

Pelosi]] made a false statement in court via her lawyer (Mr Donald B. Verilli Jr.) and

PAGE 4 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 5 of 136

stated “[N]o one would be hurt and the greater justice would be attained” and violated
(18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in case 4:18-
cv-00167-0, a significant federal crime. On 26FEB2019 Jeffrey Cutler filed a lawsuit
in FEDERAL COURT 5:19-cv-00834 in [[Philadelphia]] against [[Nancy Pelosi]]
called (CUTLER v. PELOSL et al.). This is 26 YEARS AFTER THE FIRST
WORLD TRADE CENTER BOMBING. This documents that service of the
complaint has been SERVED on the PEOPLES REPUBLIC OF CHINA at their
EMBASSY TO THE AMBASSADOR. Mr. Cutler had also published information
that the MURDER of two BLACK AUSAs Jonathan Luna <ref>
https://en.wikipedia.ora/wiki/Jonathan_Luna </ref> (Found 04DEC2003) and Beranton
Whisenant <ref> https://en.wikipedia.ora/wiki/Beranton Whisenant </ref> (Found
25MAY2017) were also MURDERED by possibly members of the KKK. Mr.
Whisenant was found on the same day George Floyd was declared Murdered in
2017. Despite calls to the clerk of the United States Court of Appeals, the clerks
Time Stamped Petition for Enbanc Hearing case 20-1805 is still not on the docket.
To get the time stamped document for case 20-1805 on the docket Mr. Cutler filed a
copy of the Petition in case in Eastern District Court case #2:21-cv-01290, and get
redress of grievances in person at the same courthouse in Philadelphia on
23MAR2021 with a 341 page motion to Intervene. On 24MAR2021 judge Kenney
denied the motion to intervene ECF 4 and stated the document was

incomprehensible and has no bearing or relavance to the above captioned action,

PAGE 5 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 6 of 136

even though the motion was unopposed. A mail fraud complaint has been filed
against judge Chad Kenney. Also on 13JAN2021 at 4:10 PM on that date Mr. Cutler
filed a 321 page document for case 20-1422 which contained EXCULPATORY
EVIDENCE OF DOCUMENTED ELECTORAL FRAUD (page 62, 67 and 320
& first 69 pages in addendum) a CONSPIRACY to ENGAGE in CRIMINAL
ACTIVITY. This document is still not present on the docket, a federal crime. It is
believed this is has been based on BRIBES and COLUSION with funds from
CHINA to hide an international effort to engage in [[Biological warfare]] with a
primary target being the United States, and DESTROY the value of the UNITED
STATES DOLLAR. DR. FAUCCI, KRISTEN WELKER and Persons of the
CDC have LIED about an Approved Vaccine to Stop COMPLICATIONS from the
FLU & COVID-19 <ref>_ hitps:/vww.futuremedicine.com/doi/10.2217/fea-2020-0082 </ref>. They are
called PREUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. THE
TESTING KITS ARE TAINTED AND HELPING TO INFECT PEOPLE AROUND
THE WORLD <ref> https://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/htmi/CHRG-
L1Ohhrg53183.him </ref><ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.html|
</ref><ref> httos://www.latimes.com/archives/la-xom-2008-mar-20-na-fda20-story.him| </ref><ref>

https://en.wikipedia.org/wiki/2007_pet food recalls </ref> <ref>

PAGE 6 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 7 of 136

https://www.latimes.com/business/story/2019-09-18/carcinogen-scare-tainted-zantac </ref> COVID-19
is Biological warfare <ref>nttps://en.wikipedia.org/wiki/Biological warfare </ref> NOTE
CHINA GONE FROM LISTS AND PROGRAMMED TO BE EXCLUDED
JUST LIKE VOTES FOR TRUMP. It is believed that the testing components may
be tainted and is the real reason that so much propoanda has been placed on testing
when vacinations for to stop these deaths is cheaper and readily available. A
previous document in case 21-40001 was altered by persons unknown to protect the
CRIMES of the FBI/CIA and KLU KLUX KLAN, the PROUD BOYS is just
another name for the KKK. It also shows BIAS and MALICIOUS intent to violate
EQUAL TREATMENT under the law, a violation of the United States Constitution
Ammend 5. Jeffrey Cutler has STANDING and it was granted by the USCA in DC
on 14AUG2015 for case 14-5183 , and ORDER does not EXPIRE. Mr. Cutler was
granted the RIGHT to protect the ESTABLISHMENT CLAUSE by the court and
has been trying to pursue his first ammendment right to PETTION THE COURT
FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-05228 Judge
Nicholas G. Garaufis (Eastern District of New York) SIMPLY STATED MR.
CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL
PROTECTION UNDER THE LAW AND HAD THE DOCUMENT RETURNED
WITH NO RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a
Sonderkommando, elector for Joe Biden and the current Attorney General of

Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part

PAGE 7 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 8 of 136

B coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically
stated the program was ILLEGAL. These persons are being GRANTED EXTRA
RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second
generation American and JEWISH, eligable to be President or Speaker of the
House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from
Mr. Torres dated 12APR2018 that all voting methods must have a HARD COPY

RECORD AVAILABLE filed 200CT2020, as part of funding from the FEDERAL

 

GOVERNMENT!! The laws were altered in Pennsylvania to provide DROP
BOXES that failed to have this provision. Mr. Cutler had stated these ballots
violated the states OWN order, and a judge should decide their they are ILLEGAL,
just like the term that may presently describe the sick bird Philadelphia football team
ILL EAGLE. The Citizens of the State of New York and may have been violated
by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the
football game due to substitution of the Quarterback, so the GIANTS were not able to
be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4:10 PM,
a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED
PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR

JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia

PAGE 8 of 136
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 9 of 136

USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT
with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING
(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the
president were selectively EDITED to remove the word peaceful, and the concept
this speech incited the riot is contradicticted by reports that the FBI knew about
activities for over a month (the document is contained in the Addemdum). This
impeachment as fair was as true and correct as the attack on 11SEP2012 when
[[Susan Rice]] stated “But our current best assessment, based on the information that
we have at present, is that, in fact, what this began as, it was a spontaneous -- not a
premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a
few hours earlier, there was a violent protest that was undertaken in reaction to this
very offensive video that was disseminated.” Jeffrey Cutler found out that 5,000
Jews from the Rovno ghetto were shot in the forest near the city of Rovno Ukraine on
13JUL1942, the same day his uncle IRV CUTLER was shot down in a B24 over
Benghazi Libya. During this period was the battle at El Alamein stopping NAZI
advance towards Cairo and the Suez Canal. Anthony Algindy <ref>
https://en.wikipedia.org/wiki/Anthony Elgindy </ref> working with a corrupt FBI agent Jeffrey
Broyer may have had prior information of the attacks on 911. They both may be part
of the <ref> https://en.wikipedia.org/wiki/United States Federal Witness Protection Program </ref>.

The apparatus involving the FBI and CIA may have started when they tareted

PAGE 9 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 10 of 136

Fawaz Younis and operation GOLDENROD was started and he was captured for
the 1985 Hijacking of an aircraft from Beirut with 4 americans aboard, but has been
corrupted. On 12JAN2021 Jeffrey Cutler filed a MAIL FRAUD complaint against
AMAZON and Jeffrey Bezos and on LIJAN2021 filed a MAIL FRAUD complaint
against TWITTER and Jack Dorsey. The MAIL FRAUD complaints are based on
being a INVESTOR in both companies and the ANNUAL REPORTS OF BOTH
COMPANIES that are MAILED to Mr. Cutler and other investors and statements
in those reports.

THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN
PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 200CT2020
PAGE 169 OF CASE 20-2936 PAGE 9 OF THE LINK BELOW ORIGINALLY
FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF USCA CASE 20-2936,
PAGE 320 OF CASE 20-1422 FILED 13JAN2021 AT 4:10 PM (BEFORE THE
IMPEACHMENT VOTE) AND PAGE 384 OF DOCUMENT FILED IN FIFTH
CIRCUIT 21-40001<ref>

https:/Awww.courtlistener.com/recap/gov.uscourts,pamd, 127057/gov.uscourts.pamd. 127057.181.0.pdf </ref> THE DROP
BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT
AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO THE
CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN JOURNALIST
AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA AND THE

POLICE, THAT IS WHY SHE WAS MURDERED. PER USCA CASE 17-1770

PAGE 10 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 11 of 136

JOE BIDEN WAS PART OF A GROUP HELPING TO SMUGGLE STOLEN
NAZI ART INTO THE UNITED STATES AND BILL COSBY FOUND OUT. The
Proud Boys (Philadelphia leader Zach Rehl) had his first court appearance Friday the
19MAR2021. On 13JAN2021 JOSH SHAPIRO is named in part of a Petition [[En
banc]] in the USCA in [[Philadelphia]] on Page 62 is a letter from [[Nancy Pelosi]] to
[[Ted Wheeler] dated 27AUG2020 SUPPORTING VIOLENCE IN [[Portland,
Oregon]], On Page 67 is EVIDENCE OF COMPLAINT of [[Electoral fraud]] made
to Office of Attorney General Josh Shapiro 24DEC2020 at 7:50 AM. On Page 68 is a
letter of a Private Criminal Complaint About Perjury and Obstruction of Justice made
to Office of Attorney General Josh Shapiro dated 20JUN2017, that concerns the
MURDER of [[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see [[Publican and the
Pharisee]] and [[Parable of the Unjust Judge]]. Watch
https://www.youtube.com/watch2v=mgCle8F_zUk for more information and read comments
sorted newest first. Also see <ref> https:/Avwww.americanfreedomlawcenter.org/case/jeffrey-cutler-
v-u-s-dept-of-health-human-services/ </ref> and <ref> htips://www.brennancenter.org/legal-
work/corman-v-torres </ref><ref> hitps://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.paf
</ref><ref> https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> As
an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler
declares the actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a

concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a

PAGE 11 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 12 of 136

Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper
on 240CT2018 page 15 :titled “SAVE BILL COSBY”

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING
APPEAL was finally put online in case 20-1449 even though it was actually filed on
20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21IMAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov
</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCEand MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED
050CT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

PAGE 12 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 13 of 136

SUMMARY AFFIRMATION USCA CASE 20-2936. On 150CT2020 at 12:42 PM
Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936. For USCA CASE 20-2936
On 280CT2020 at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC
REVIEW of PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY
BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL
FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION AND
PEREMTORY DISQUALIFICATION OF ALL JUDGES OF THE THIRD
CIRCUIT AND MOVE TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey
Cutler filled a PETITION TO COMBINE ADDITIONAL CASES BEFORE
ENBANC REVIEW BECAUSE OF ADDITIONAL CRIMES (18 U.S. Code § 1519
- Destruction, alteration, or falsification of records) FOR JUDICIAL EFFICIENCY
in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al99 page PETITION FOR INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON
IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR

PRESIDENT INC., et al. v. KATHY BOOCKVAR, et al. case 4:20-cv-02078. Mr.

PAGE 13 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 14 of 136

Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.
VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND
OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number
4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> https://Avww.courllistener.com/recap/gov.uscourls.pamd.127057/gov.uscourts,pamd.127057.180.0.pdf </ref>

<ref> https://www.courllistener.com/recap/gov.uscourts amd, 127057/gov.uscourts.pamd.127057.181.0.pdf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD, and
he got a 193 page report from Steven Carl Quay, MD, PHD (Steven@DrQuay.com)
A COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY and SYDNEY POWELL. Other

organizations had stated COVID-19 is Bio Warfare.

<ref> https://journal-neo.org/2020/04/15/did-america-just-confess-to-a-covid-19-bio-war/ </ref>

<ref> https://www.rightwingwatch.org/post/covid-19-is-chinese-bio-warfare-says-trump-allied-megachurch-pastor-jack-
hibbs/ </ref>

<ref> https://www.siasat.com/covid-1 9-biowarfare-says-bioweapon-creator-dr-francis-boyle-1866058/ </ref>
<ref> hitps://www.cnn.com/2020/04/08/politics/biological-warfare-laws-covid-19/index.html </ref>

<ref> https://www.biologicalweapons.news/2020-02-19-covid-19-coronavirus-found-to-contain-gain-of-function-for-
efficient-spreading-human-population.himi </ref>

<ref> https://www.washingtontimes.com/news/2020/jan/26/coronavirusink-to-china-biowarfare-program-possi/ </ref>

<ref> https://www.city-journal.org/ntml/when-germ-warfare-happened-13282.himl </ref>

PAGE 14 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 15 of 136

<ref> hitps://www.dallasnews.com/news/public-health/2020/03/18/dallas-federal-lawsuit-accuses-chinese-government-of-
creating-coronavirus-as-biological-weapon/ </ref>

BASED ON MR. CUTLER'S VALIDATION EXPERIENCE HE THINKS THAT
THE TESTING COMPONENTS MAY BE TAINTED and actually causing increase
in COVID-19. This is based on PREVIOUS actions by CHINA.
<ref>https://www.dovinfo.gov/content/pka/CHRG-110hhrg53183/html/CHRG-1 1 0hhra53183.him </ref>
<ref> https://www.nytimes.com/2008/03/06/health/Osheparin. himi</ref>
<ref>nhttps://www.latimes.com/archives/la-xom-2008-mar-20-na-fda20-story.htm!</ref>
<ref>https://en.wikipedia.org/wiki/2007_pet food recalls </ref>

18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving
ECF 33 filed 230CT2020. Mr. Cutler believes the same technique used in the VW
EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>
httos://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-

expiained.htmi</ref> <ref>https://www.ydr.com/story/news/politics/elections/2019/11/06/how-po-fix-
paper-ballot-voting-problems-before-2020-presidential-election/2507101001/</ref> PER USCA CASE
17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART
FROM WWIL THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM
VANISHED IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -

PAGE 15 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 16 of 136

Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN
DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.
DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of
USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is
documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) involving ECF 33 filed 2830CT2020. Mr. Cutler believes the
same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER
VOTES and possibly by the same programmers <ref>
https://www.nytimes.com/interactive/20115/business/international/vw-diesel-emissions-scandal-explained.html</ref>

<ref>nttps://www.ydr.com/story/news/politics/elections/20 19/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-2020-

presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS
INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler
previously had filed copies of documents from case 19-11466 (Bankruptcy of
PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL
), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages
23, 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders
for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered

funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the

PAGE 16 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 17 of 136

mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and
allowed it to be ammended in 10 days, <ref> hitps:/vww.brennancenter.org/legal-work/corman-v-torres
</ref><ref> nttps://redistricting. Ils.edu/files/PA%20corman%2020180724%20brief pdf </ref> and conceal the
MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.
Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been
trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank
robbery by others, insurance fraud on 17MAR2017 and a challenge to
OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler
was granted the right to challenge OBAMACARE by the USCA in Washington, DC
on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons
obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn
stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases
involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225
1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used

Express Mail, tracking number EJ5050342510S and vanished also, just like previous

PAGE 17 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 18 of 136

documents in federal court. In case # ON 07DEC2020 JEFFREY CUTLER FILED
VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR
RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT IN CASE 1:17-cv-05228 (STATE OF NEW YORK v. DONALD J.
TRUMP AS A Intervenor Defendant. [IDACA CASE CITING EQUAL
TREATMENT UNDER THE LAW- first 59 pages of 315 attached in the
Addendum]|] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND
DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS
PAGE 169 (p320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS
WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was recieved on
08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple
claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in
New York, anda MAIL FRAUD complaint has been submitted for his previous
actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA
INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON
RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A
315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a

CONSPIRACY to commit MAIL FRAUD with the other electors and is also

PAGE 18 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 19 of 136

AIDING AND ABETTING in concealing the MURDER of a BLACK
FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the
Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge
Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson
had stolen the election from Bruce S. Marks in North Philadelphia's Second
Senatorial District through an elaborate fraud in which hundreds of residents were
encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the
ballots, they used the names of people who were living in Puerto Rico or serving time
in prison, and in one case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a
decision made public. <ref> https:/avww.leagle.com/decision/1994892 19348731759 </ref>,

<ref> https:/Avww.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.htmt </ref>. Even
though the judge is named as part of the complaint filed for case #1:20-cr-00165 for
MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in
case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE
was a reason to deny ALL motions by Mr. Cutler. It was established that ALL
parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same
judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT
under the law, a violation of the United States Constitution Ammend 5, in an effort

to violate Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. §

PAGE 19 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 20 of 136

3 accessory after the Fact MURDER of Jonthan Luna (a BLACK employee of the
FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on
the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making
PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect
parties that defaulted as well as both insurance companies and their lawyers making
false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values
all over Philadelphia and Pennsylvania and allow illegal drugs to become even more
readily available. This would set a standard for CHINA to attack the United States
even further. The DemoNcrats have pushed for the lowest common demoninater of
activity and depavity to destroy this Republic, and destruction of GOD in favor of the
STATE. This WORLDWIDE attack based on payments and corruption this court
MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.
On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be
CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).

Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a

PAGE 20 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 21 of 136

Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,
1985 as a form of Eviction with the aid of persons in the FBI. Shaun Bridges a
secrect service ageny stole over $ 800,000 and was convicted of the crime in
NOV2017<ref> https://www.iustice.gov/opa/pr/former-secret-service-agent-sentenced-scheme-related-silk-road-

investigation </ref><ref> The murder of Sean Suiter was equally tainted

https:/Avww.ydr.com/story/news/2020/07/1 O/investigator-death-baltimore-city-police-detective-sean-suiter-charged-kidnapping-

extortion-case/5412238002/</ref>Mr. Cutler had stated that he believed that the MURDER of
JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed
with help of persons of the FBI. Mr. Cutler based on his past jobs & training that the
COVID-19 pandemic is BIO-WARFARE against the world from CHINA and
CORRUPT OFFICIALS & CORRUPT MEDIA in violation of the FCPA and the
Logan Act Stat. 613, 18 U.S.C. § 953 with China. Based on his previous contracts in
VALIDATION for MERCK , BAXTER, J&J etc. GMP training and the only 1036
cases and 10 deaths in TAIWAN as of 01LAPR2021, THAT THE TESTING
COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19,

in the United States. This is based on PREVIOUS actions by CHINA.

<ref>htips://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/html/CHRG-1 10hhrg53183.Atm </ref>
<ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.htmi</ref>

<ref>hitps://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.htmi</ref>

<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current

non-binding mandate from the Dr. Levine and others in other STATES may be trying

PAGE 21 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 22 of 136

to increase the number of cases, to HARM the UNITED STATES based on bribes
and TREASON by mostly DemoNcrats and some Republicans posing as good people
who are RHINO’s, when President Trump may have been the first DINO identified
since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations
is complicit in the deaths in the United States. Although Thanksgiving was not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA., INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL
PROTECTION since commuters are exempt in Pennsylvania. Forced testing
without a court order violates the FIRST Amendment, just like you cannot be forced
to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures
PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the
company, and should be prosecuted just like Martha Stewart was charged and put in
prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a
DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the
county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>

https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/</ref> On

PAGE 22 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 23 of 136

or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon
County MUST use 2.8 million of the CARES act funding for MASK
ADVERTISING in direct support of Joe Biden’s campaign focus <ref>
https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-
county/</ref>, which is five years since the USCA in Washington ruled Mr. Cutler
had the right to Defend the Establishment clause (case 14-5183) and 75 years since
VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC
have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU
& COVID-19 <ref>nttps:/www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On
22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL
was finally put online in case 20-1449 even though it was actually filed on

20MA Y2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21MAY2020. The president gave a short NEWS CONFERENCE on 22MA Y2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT

JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn

PAGE 23 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 24 of 136

obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>
Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them alla party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE. Mr. Cutler’s brother FRED had recently got a job as an USHER
for the PHILADELPHIA PHILLES for the 2020 season, but because of the
CONSPIRACY to close the states there will be no live viewing of games this
season. Mr. Cutler’s brother and approximately 69 MILLION other people
(approximate attendence of 2019 baseball season) have been denied the RIGHT of
PURSUIT OF HAPPINESS as is part of the DECLARATION OF
INDEPENDENCE during the 2020 baseball season and today they allow only
8,000 people to attend in 2021. Thomas Wolf and Jim Kenney have allowed almost
unrestricted protest marches with POLICE escorts, but cancelled other parades and
events. Mr. Cutler had proposed an option to have games played in every city. As
stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC
EXZEMPTION IN THE CONSTITUTION. The news media in concert with
individuals in the DEMOCRATIC party have and some that pretend to be

REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a

PAGE 24 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 25 of 136

complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE OF
FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS
A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating
18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee
is Jonathan Luna <ref> https://en.wikipedia.org/wiki/Jonathan Luna </ref> and Beranton
Whisenant <ref> hitps://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and
Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging
the news media (case 1:16-cv-06624) is just another crime concealed from the
public. That case is included by reference and joined to this one. The crime-fraud
exception was first recognized in the United States over one hundred years ago, and
the policy behind it is well-defined. (The crime-fraud exception was first recognized
in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal
community does not deem discussions concerning future wrongdoings, such as
fraud, that occur during an attorney-client communication worthy of protection. Id.
at 562-63. While the practice of law encourages full and frank communications
between the attorney and client, only communications concerning past wrongdoings
are protected. Mr. Cutler had previously been elected to Public Office as the TAX
COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based

on an Election in November 2013. and took the Oath of OFFICE prior to his first

PAGE 25 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 26 of 136

day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013
regrding violations of Religious Freedom as case number 1:13-cv-02066. He was
granted the right to challenge OBAMACARE in Appeal as case 14-5183 on
14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was
removed from Office after 27 months based on PERJURED TETIMONY, and a
CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In
Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was
harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>

https://lancasteronline.com/news/local/commonwealth-court-denies-manheim-township-school-districts-appeal-in-

long-running-tax-collector-case/article_127508cc-c2e5-1lea-864a-8b754638d23f.html </ ref>Based on these

actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL
JURY TRIAL to clear his name. Since he found no law firm would represent him
based on contacts with the FBI or law enforcemnt. The lancaster county treasurer
was apponted to replace Mr. Cutler in the collection of taxes and never had a surety
bond until 18JUL2018 <ref> https://lancasteronline.com/news/local/lancaster-county-treasurer-without-

insurance-for-millions-in-tax-dollars/article_ef5b90bc-89d5-11e8-8ace-77712e721cba.html </ref> No Prosection

 

of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT
On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based
on EQUAL TREATMENT under the law in this court (case # 1:17-cv-01740

06NOV2017), but the judge failed to award any compensation as requested and the

PAGE 26 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 27 of 136

clerks removed one defendant from the case an tampered with the document.
Pennsylvania has previously had a number notorious crimes of public employees
<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &
Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.
Cutler filed for an IMMEDIATE INJUNCTION PENDING APPEAL FOR
ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081
in the United States District Court for the Eastern Ditrict of North Carolina on
16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made
public statements that he does not intend to appeal, this is settled law. Mr. Cutler
had filed a Petition to DENY the Motion For Summary JUDGEMENT and to
consolidte related cases of religious discrimination by the government in case USCA
20-1805 on 14MAY2020 and the document and was not put online until
20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains
some perjured statements and since it was sent by mail constitues Mail Fraud and
Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the murder
of a Federal Employee found on 04DEC2003 (Jonathan Luna), by persons in the
governments (both federal and state) and also the murder of five children on May
13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the
bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN
LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the

FBI. The judge dismissed the case even though 5 parties defaulted and were

PAGE 27 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 28 of 136

properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late Thomas
O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had
made a complaint by mail to the DA office in Lancaster County, Pennsylvania and
York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on
22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)
which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a
response to the motion filed in oppoition on 25SEP2019. Even though the document
filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 090CT2019 which not only denied Mr. Cutler’s right to intervene but also
violated the United States Constitution Ammend 1, by making a THREAT BY
MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF
GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who
pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed
objections to limit the power of the Tom Wolf to classify that religion as a NOT a
LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler
filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as
case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE

in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT

PAGE 28 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 29 of 136

CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to
transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an
Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth
Circuit. When that was illegally ignored. Mr. Cutler filed documents in
Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-
0064 in the United States District Court for the Northern District of Mississippi
[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and
case number 1:20-cv-00323 in the United States District Court for the Western
District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER
et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and
previously wrote 1:20-cv-01120) in the United States District Court for the District
of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA
et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this
consolidation. All charges in each case should be included by reference for all civil
cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge
Catherine C. Blake of Maryland had one of the documents returned, obstructed
justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan
Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on
01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.
Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in

documents related to this case in federal court. <ref> https://forward.com/fast-

PAGE 29 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 30 of 136

forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-jail/ </ref>Despite Mr.
Cutler filing a request with the state prior to the end of the WAIVER deadline that
ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING , Mr.
Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also
NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the
COVID-19 virus or other secrect police duties. Based on the case of the aids law
project tracking people that have one type of virus is unconstitutional, and exposing
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION
UNDER the LAW is a cormmerstone of both the United States Constitution and the
Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South
Africa <ref> https://www.dailymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-
Nelson-Mandela-jailed.html </ref> the BOEREMAG was just another name for KLU
KLUX KLAN. Also Tom Wolf made statements that said that people cannot be
evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on
O7MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in
New York white police officers were beating a BLACK MAN for failing to practice
social distncing (neither police officer was wearing a mask), and they should be
prosecuted for violating the same law that they were alledgely enforcing. It is
notable that Wikipedia has SCRUBBED Mike Du Toit from their records
(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet

has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth

PAGE 30 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 31 of 136

Circuit the Order from the United States Northern District of Texas dated January
16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION
TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS
TO PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the
motion denying Plaintiffs motion of December 30, 2019. The current order from
that court is in error since the USCA order of December 18, 2019, remanded the
case back to District Court and for further disposition and was unopposed and is still
unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019
but it was illegally discarded. He then filed on O7MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk
decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on
27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),
and it was only put online when Mr. Cutler informed the Deputy Clerk Mary
Francis Yeager that she was violating Mr. Cutler’s civil rights. It was put online
January 29, 2020. A violation of EQUAL PROTECTION by employee of the
federal government, which treated the two documents differently and potentially hid
the document from the review of the judges considering an ENBANC review. Mr.
Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO
TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH
CASE 5:19-cv-00834, this document was put online as document number

00515298284 on 04FEB2020, the same date it was filed in court. In the case both

PAGE 31 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 32 of 136

Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson
denied the petition. This violated the United States Constitution Ammend | and 5S.
It also also violates Mr. Cutler’s rights under the Sixth Amendment of the
Constitution. Mr. Cutler then on 04¢MAR2020 filed a 380 page document in this
case (2:19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone
from an unidentified individual about the filing. On 0O6MAR2020 Mr. Cutler filed a
nine page correction to the document previously filed. When the document was
downloaded from the federal pacer system it was devoid of any markings. On
12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING
ORDER OF RECONSIDERATION — ON 04MAR2020 FOR IMPROPER
SERVICE — BRADY VIOLATION AND COMBINE WITH CASE NUMBER
2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE
NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that
time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.
In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW
was properly marked. Based on this Mr. Cutler printed a second copy of the
document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,
03-5314). Mr. Cutler requested the district court cases be consolidated in
Pennsylvania and deliberations allowed on an expedited basis since they both
involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

PAGE 32 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 33 of 136

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the
house of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical
Examiners. The FBI tried to force two Medical Examiners to say the MURDER
was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that
was later classified a suicide during a special arrest, 1 day before he was to testify.
Other individuals have died unexpectedly, possibly of murder including Beranton
Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted
Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records
of Jonathan Luna have finally resurfaced and are currently trying to be
sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in
public documents that he believes Mr. Luna was murdered by the KLU KLUX
KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
https://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/52 1-2229b27 2-9355-43a8-8 163-

506440862577 </ref><ref>

PAGE 33 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 34 of 136

httos://lancasteronline.com/news/local/Ino-county-clash-over-newly-discovered-records-in-jonathan-
luna/article_01baé56a-483b-1 1 ea-86ed-43533b224839.him| </ref><ref>

httos://lancasteronline.com/news/local/lancaster-county-jludge-gives-prosecutor-days-to-say-why-
jonathan/article 66aq5086-49ec-11ea-8d57-37ffalb9ed27.htm! </ref><ref>

hitos://www.wgal.com/article/newly-discovered-documents-are-related-to-investiaation-into-death-of-
federal-prosecutor-jonathan-luna/30783745 </ref><ref>

hittos://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fight-between-da-news-media.html </ref><ref>

https://www.youtube.com/watchév=cLAIdUHDwi8 </ref> <ref>
https://www.nbcnews.com/news/us-news/disgraced-baltimore-police-officer-says-detective-who-was-killed-
testifying-n844831

</ref> <ref> https://www.cnn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-
suicide /index.himl </ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli
Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of
DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref> https://www.youtube.com/watch?v=QV7dDSgba@o </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari

for the Supreme Court of the United States (15-632) and inserted that same writ in

PAGE 34 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 35 of 136

United States Court of Appeals case 17-2709, page 314A, via district court case
number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable
Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court

in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track

every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef
procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.
Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency
plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is
actually an excuse for MASS GENOCIDE against individuals that are deemed
undesirable including Jewish and black Individuals and to discontinue pensions via
MURDER (see <ref> hitps://en.wikipedia.org/wiki/Joyce Gilchrist </ref>. It is very easy to
Bribe, coerce or pay individuals to bear false witness against another individual and
violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The

orders Thomas Wolf and other leaders have issued effectively allows the

PAGE 35 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 36 of 136

governments in the United States to discontinue religion in and in the State

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.
Other members of the KLU KLUX KLAN in the United States and the World, are
all organized to take on the HOAX. This was previously called Agenda 21. As of
16MAR2020 Canada was still allowing flights from CHINA and those persons

could be carrying hazardous bio material simply enter the United States from
Canada. When Mr. Cutler was working for Merck as a contractor some individuals
were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.
Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.

The closing of all CASINOS in the STATE is to get 100% of all gambling

revenue, to have a total monopoly on all sources of payment organized for a
complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the
Allentown Federal Courthouse contains NAZI insigna in the tile work in the building
(pending supreme court case # 19-8538 ), and there is a seven acre compound in
Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has
corrected Mr. Cutler’s statement that the insigna is actually in the Post Office tile
across from the courthouse. This all may have a connection of Joe Biden to China and
the transfer of technology to them that has violated the world’s civil rights, except

Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in

PAGE 36 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 37 of 136

the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based
on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which
should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce
Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with
China. Since Mr. Wolf’s order is illegal, all the Insurance companies have
conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.
Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf’s order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting
qualification or prerequisite to voting, or standard, practice, or procedure ... in a
manner which results in a denial or abridgement of the right ... to vote on account
of race," color, or language minority status. Based on the recent unsealed pleadings
of Judge Domenick Demuro (press release 20-472) , voter fraud has been in
Pennslvania a long time. The use of ABSENTEE ballots that are collected by

individuals denies the minor protection of MAIL FRAUD, usually asociated with

PAGE 37 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 38 of 136

this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that
also may be voter fraud in Philadelphia and Mail Fraud. Since that person never
lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the
guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr
Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY
JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of
governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>ntips:/Avww.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE
COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-oneumonia-shots </ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based
on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with
COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because

the person would be called LUNCH. HIV has NO VACCINE. This

PAGE 38 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 39 of 136

INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.
Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue
because they waited six months. Based on this the charges against William Henry
Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, just like on 25MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that
day from Chicago. My friend Daria from Russia, stated that collapse of the dollar
was a Stated goal of persons. Even in case, 1:20-cv-01130 that the document legally
filed is RETURNED for failing to file a motion to intervene PRIOR to filing the
actual document, violating equal protection under the law and the United States
Constitution Ammend 5 and Ammend | by denying the ability for redress of
grievances. Also based on conflicting death reports, declaring a MURDER a
SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials

with the aid of News Outlets. Previous corruption in the United States based out of

PAGE 39 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 40 of 136

Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in
Illinois during some of this time frame and the joke voting saying was VOTE
EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON
NOT TO VOTE <ref> https://en.wikipedia.org/wiki/Operation Greylord </ref>

<ref> htps:/vww.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.himl </ref> <ref>
https://www.latimes.com/archives/la-xom-1987-12-10-mn-28034-story.html_ </ref> <ref>
https://fbistudies.com/wp-content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,
SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a55 MILLION DOLLR FRAUD <ref>
hitos://www.nbcsandiego.com/news/local/rabbi-shot-in-ooway-synanoque-attack-pleads-quilty-
to-tax-fraud-docs/2365089/ </ref> <ref>

https://en.wikipedia.ora/wiki/Poway synagoque shooting </ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme
Richard and effects in TAIWAN are evidence of cooridinated attacks on the
United States which are being hidden from the general population like the civil
case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>
https://thehill.com/policy/national-security/5 12385-former-cia-officer-charged-with-selling-us-secrets-to-china

</ref> <ref> httos://www.bbc.com/news/world-us-canada-48319058_</ref>

<ref> https://www.bbc.com/news/world-us-canada-50520636 </ref> <ref>

PAGE 40 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 41 of 136

https://www.nytimes.com/2019/09/24/us/china-intelligence-sentence.himt_ </ref>

The Story <ref> httos://www.mercurynews.com/2017/06/14/james-hodakinson-shooting-
facebook-republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND
SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE
BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND
PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the
MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has
been charged. The Employee is Jonathan Luna <ref>
https://en.wikipedia.org/wiki/Jonathan Luna </ref> and Beranton Whisenant <ref>
https://en.wikipedia.org/wiki/Beranton_ Whisenant </ref>, Sean Suiter from the BPD .
<ref> hitps://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in
East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and
possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY of WI105 and covered up by the MEDICAL EXAMINER <ref>
httos://lancasteronline.com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article_ca83b358-céde- 1 lea-a3eb-67597e2be2cf. html

PAGE 41 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 42 of 136

</ref> <ref> https://redistricting.lls.edu/files /PA%20corman%2020 180724%20brief.pdf </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>

https://law. justia.com/cases/federal/district-courts/FSupp2/17/394/2488681/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> httos://dockets.justia.com/docket/circuit-courts/ca3/17-
1772

</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the
Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324
page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www. youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

hitos://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> hittps://www.brennancenter.ora/legal-work/corman-v-torres
</ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdt </ref><ref>
https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et_al </ref> As an Official
Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

PAGE 42 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 43 of 136

effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Thomas Wolf and had an advertisement in the METRO paper on
240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was
president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

https://en.wikipedia.org/wiki/Federal Election Commission#First Amendment issues </ref>
complaint

was filed against [[Youtube]] for illegal edits of comments as an "IN KIND"
contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS
(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>
httos://en.wikipedia.org/wiki/Jonathan Luna </ref> and [[Beranton Whisenant]] <ref>

https://en.wikipedia.org/wiki/Beranton_Whisenant </ref>. This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]
called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On
20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in

USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED

PAGE 43 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 44 of 136

STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL
FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a
MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD
complaints are based on being an INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other
investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST
TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER
CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S
ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME
STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,
ORIGINALLY FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<ref>

https:/Avww.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd, 127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY
RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO
THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with
expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN
PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI
BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD

THE CONSPIRACY WITH KKK/ANTIFA around her with the POLICE, and

PAGE 44 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 45 of 136

THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER
STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.
PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO
SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED
PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT
2:21-cv-00031 in the Western District of Washington should be fully compensated.
Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on
13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she
conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 (the
first 69 pages are attached in the addendum) in the USCA third circuit in
Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMP, with the aid of the media to aid
China engage in biological war fare against the world and weaken the United States.
Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES
of IMPEACMENT have been sent to the SENATE as of this date. Chuck
Schummer had said on the floor of the Senate it was really for inciting an

ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi

PAGE 45 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 46 of 136

on 10JAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland
Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler

filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN2021
AT 4:10 PM and it also VANISHED, copies were sent to over 200 news outlets. The
Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic
violations all based on the fruit of the poisonus tree. This case should be moved to
FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons
from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in
Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and
incarcerate him for identifying the previous conspiracy to hide the MURDER of
Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.
CUTLER WITH TRAFFIC CITATION C6598201-1. Vehicle registration was
reported as postponed.

<ref> https://www.pennlive.com/news/2020/05/penndot-extends-deadlines-for-
vehicle-registrations-inspections.html </ref>

and vehicle renewal registration was NOT received by mail. Since this case is proof
the BIG LIE is the TRUTH Mr. Cutler also requests that case 1:21-cv-00213 and
1:21-cv-0040 from the District of Columbia be combined with this case.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy

involved with this civil rights action and requests the court to notify the DOJ

PAGE 46 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 47 of 136

Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the
murder of a federal employee (18 U.S. Code § 1114), seditious conspiracy

(18 U.S. Code § 2184), activiies affecting the armed forces (18 U.S. Code §

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466
Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court
Maryland, and 1:17-cv-05228 in the Eastern District of New York (The State of New
York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.
Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a
pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.”) (internal quotations and
citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> https://en. wikipedia.org/wiki/Bread_and_Circuses (Star Trek: The Original Series)

</ref> and <ref> https://en.wikioedia.org/wiki/What Are Little Girls Made of%3F_</ref> and like
the movie <ref> https://en.wikipedia.org/wiki/Moon over Parador </ref> or the original

unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth

PAGE 47 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 48 of 136

there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information
as true. In the Addendum is 67 pages of the document filed in case 19-1842 and
proof Josh Shpiro committed mail FRAUD. THE CLERK's OFFICE OF THE
UNITED STATES COURT OF APPEALS IN PHILADELPHIA IN A
CONSPIRACY WITH OTHERS INCLUDING JIM KENNEY AND THE
DemoNcratic PARTY, violated 18 U.S. Code § 872 - Extortion by officers or
employees of the United States, AND AIDING AND ABETTONG CONCEALING
THE MURDERS OF TWO BLACK FEDERAL EMPLOYEES (violating 18 U.S.C.
§ 3 Accessory after the Fact MURDER) AUSA JONATHAN LUNA & AUSA
BERANTON WHISENANT PLUS BANKRUPTCY FRAUD 19-11466 (Bankruptcy
of PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN
HOSPITAL) AND MISSING DOCUMENTS CASE 19-1842 FILED 06APR2021
AT 2:34 PM. The murder of Mr.Wright was Wrong, as well as the Murder of

David Kassik by police woman Lisa Mearkle in 2015 and violated his civil

 

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests
the MOTION TO COMBINE CASES and moved to FEDERAL COURT in Missouri
case # 1:20-cv-00099 be granted as well as SUMMARY JUDGEMENT, this is

effectively a CHANGE IN VENUE. All votes via DROP BOXES BE STRICKEN

PAGE 48 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 49 of 136

in Pennsylvania and the count be recalculated, and based on Marks v. Stinson,

Donald J. Trump be declared the winner <ref> hitps:/www.leagle.com/decision/199489219£3d8731759

</ref> of the Presidential vote in Pennslvania, and by reference North Carolina,
Wisconsin, Nevada and Arizona.

Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any
way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting
elected Vice President at the hotel previously known as the Host Farm, but has since
been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania
Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the
executive order signed in 1942 as Executive Order 9066 by FDR
UNCONSTITUTIONAL, during an immediate ENBANC review of this case when
combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE
as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO
PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.
The MURDER of a BLACK man and 15 year old boy should NOT be Considered
MOOT as per order from the Judge ECF 203 and the clerk. This USCA case
number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,
case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cv-00031

Northern District of Washington, plus this case and 21-4001 ALL BE

PAGE 49 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 50 of 136

COMBINED FOR JUDICIAL EFFICIENCY and “GOOD TROUBLE” as per John
Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING
EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT MURDER WAS THE START OF KRISTALNAHT in the
UNITED STATES <ref> https:/en.wikipedia.org/wiki/Night_of the Long Knives </ref>”

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE
TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the
right to Petition the government for redress of grievances as part of the FIRST
AMENDMENT, in conjunction with the media, elected and non-elected officials
Based on payments inside and outside the United States. IMPEACHING ANYONE
should demand the FULL ATTENTION OF THE COURTS AND THE
CONSTITUTION, and there should be NO SHORTCUTS ALLOWED, if the
chief judge of the Supreme Court or a Judge of the Supreme court does not preside

in his place then the entire activity is fraud on the court. Just because the Biden
Election has not been exposed as a LIE, IT IS NOT THE SAME AS TELLING
THE TRUTH (Para Phrase from 3 Days of the Condor). YOU CAN DESTROY

THE EVIDENCE, BUT YOU CANNOT DESTROY THE TRUTH!

PAGE 50 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 51 of 136

Respectfully submitted,

DATE: 14APR2021 /s/ Jeffrey Cutler

 

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@gmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on April 14, 2021, I filed the
foregoing with the Clerk of the EASTERN
DISTRICT OF PENNSYLVANIA by Mail or in
person. Participants in the case who are registered
CM/ECF users will be served by the appellate
CM/ECE system. I further certify that all of the
other participants or their lawyers in this case are
registered CM/ECF users except as follows and they
are served by mail or email .

/s/ Jeffrey Cutler
Jeffrey Cutler

PAGE 51 of 136

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 52 of 136

PLAINTIF’S PROPOSED ORDER FOR SUMMARY JUDGEMENT

AND NOW, this____s day of , 2021 upon consideration Plaintif’s Motion for Default

Judgment and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.

[1] Per Marks v. Stinson, <ref> https:/Avwww.leagle.com/decision/ 1994892 19f3d8731759 </ref>, Donald J. Trump be
sworn in as President, with Mike Pence by removing Joe Biden, and Kamala Harris, if for no other reason he can be
removed from office with OFFICIAL TRIAL as demanded by NANCY PELOSI, SPEAKER OF THE HOUSE and all
EXECUTIVE ORDERS SIGNED BY Joe Biden be declared NULL and VOID.

[2] DOMINION VOTING SYTEMS AND THEIR SUBSIDIARIES PAY 10 TIMES THE REQUESTED AMOUNT AS A
PENALTY.

[3] BEND BULLETIN NEWSPAPER AND EO MEDIA GROUP PAY 1 MILLION DOLLARS A DAY UNTIL THEY
PUBLISH THE ADVERTISEMENT SCHEDULED TO RUN ON 14FEB2021 AS A FULL PAGE ADVERTISEMENT
IN EVERY PUBLICATION THEY CONTROL.

[4] Order the SUMMARY JUDGEMENT against all defendants be granted and made FINAL at one million dollars per
day or as a neotiated amount.

[5] ORDER THE PEOPLES REPUBLIC OF CHINA PAY AN AMOUNT TO COMPENSATE EVERYONE IN THE
UNITED STATES THAT WAS NOT PART OF THE PLOT AT LEAST $ 1400.00 AND $255.00 FOR EVERYONE
THAT DIED.

[6] JERRY NADLER for stating that “GOD'S WILL IS NOT THE CONCERN OF THIS CONGRESS" be identified as a
SONDERKOMMANDO, along with Josh Shapiro.

[7] ORDER JERRY NADLER AND ALL IMPEACHMENT MANAGERS PAY ONE MILLION DOLLAR A DAY PENALTY
UNTIL THEY RESIGN FOR MANUFACTURING EVIDENCE JUST LIKE EAST LAMPTER TOWNSHIP

MANUFACTURED EVIDENCE IN THE EAST LAMPRTER TOWNSHIP CASE AGAINST LISA MICHELLE

 

LAMBERT AFTER THE POLICE WERE RAPING HER AT GUNPOINT, AND VIOLATING THEIR OATH OF

OFFICE AND THEIR CONSPIRACY AGAINST JEFFREY CUTLER.

 

[8] ORDER THAT RUDOLPH GULIANAI AND SYDNEY POWELL BE COMPENSATED AS APPROPRIATE FOR
SLANDER BY DOMINION, SINCE THE BIG LIE IS THE TRUTH.

[9] ORDER THAT MANDATORY TESTING TO TRAVEL VIOLATES THE THE CONSTITUTION

[10] ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION

[11] Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.

[12] Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with

 

PAGE 52 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 53 of 136

the voting in Pennsylvania and mailing the vote tally to CONGRESS, and ACCESSORY TO MURDER after the fact.

[13] Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge
Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert
vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman,
David Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer,
Stepen T. Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against
Roger Stone and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma,
etc.), for violations of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his
appointment was based on perjured testimony, which is verfied by Mr. Steele in a foreign court.

[14] Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.

[15] Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.

[16] Order Nancy Pelosi and Adam Schiff to resign from their elected positions based on crimes identified in this

document, or from their leadership positions and pay (million dollars per day fine until they agree.

[17] Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge

Nicholas G. Garaufis, Judge Midge Rendel,Judge Ashcroft, and Judge Catherine Blake, Judge Chad Kenney

pay twice their daily salary each day to the innosense project , until they resign.

[18] Order the Peoples Republic of China as DEFAULTED for violating United States Mail Fraud laws by reading the
document and then trying to claim it was refused 1 week later.

[19] Order Tom Wolf, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds.

[20] Order all vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[21] Provide documentation to the court of how much ail court costs and legal fees have been to date, and list cost or
legal hours and ALL. LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and
Donald Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee
documentation should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

[22] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case,
especially any officials of the United States Government, and all payments by any George Soros organization.

[23] Order a one million dollar a day penalty per named defendant, until Mr. Cutler’s reputation and credit are restored or
individual agreements are reached with each party.

[24] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause

why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO violations,

PAGE 53 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 54 of 136

and 18 U.S.C. § 1964, Civil RICCO Act.

[25] Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants
in this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113
(bank robbery) and electoral fraud.

[26] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[27] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded
in their respective lawsuits.

[28] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the
plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP!!

[29] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.

[30] Other remedies the court deems appropriate.

[31] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[32] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[33] The primary election in Pennylvania held June 2, 2020 should be redone because of unequal treatment of voters

throughout the state.

[34] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free
exercise of religious beliefs and violates Matthew Shepard and James Byrd Jr. Hate Crimes
Prevention Act.

[35] Order CHINA to allow the residents of Hong Kong to vote on become a territory of the United
States for attacking the United States,

[36] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States
for their part in help in attacking the United States.

[37] Combine cases 5:21-cv-00299,20-1805, 20-1449, 20-1422 from USCA third circuit and 20-5143
from the USCA DC CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern District
of New York, case 1:21-cv-00213, Cl-20-01310,CI-20-08-039 from Lancaster court of Common
Pleas, and 1:12-cv-00401,1:21-cv-00440, 1:21-cv-00445,1:21-cv-00586 from the District of
Columbia, 2:21-cv-00031 Western District of Washington, 1:20-cv-00099 Eastern District of
Missouri, and TRAFFIC CITATION C6598201-1 and all other related cases Mr. Cutler has identified

previously and this case.

PAGE 54 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 55 of 136

[38] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-

12.

[39] Order that case Cl-20-08-039 VIOLATED Kelo v. City of New London for the property at 511Avenue N and Mr.
William McMicheal be compensated at least by the same amount paid to the estate of Vera Cooking at auction.

[40] Order that the American Rescue Plan Act of 2021 be declared UNCONSTITUTIONAL since it EXPRESSLY signals

out aid to FARMERS that are BLACK and all funds sent be recovered from the People’s Republic of China as a

 

PENALTY.

[41] Order the FEDERAL QUESTIONAIRE for purchasing a FIREARM be altered to ask if the individual intends to use
the firearm to MURDER people and have copy sent to the ATF so they can be charged with MAIL. FRAUD, as well
as perjury.

[42] Order Susan Peipher Esquire and other lawyers guilty of similar activites, to be barred from participation in the
Federal Court CM/ECF system.

[43] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds,
or on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler's activity.

[44] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[45] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler's comments
on youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[46] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[47] Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[48] Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain
LORD AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death
and combined with CENTURY 21.

[49] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting
the coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact
MURDER of Jonthan Luna)

[50] Order CITIBANK pay one million dollars plus three times the amount they allowed to be stolen via mail fraud from
Jeffrey Cutler and Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to
commit mail fraud,with their surrogates such as Midland Credit Management of San Diego, CA. Starting on

O01APR2021 the penalty be increased to one million dollars per day for continued violations of the fair credit and

PAGE 55 of 136

 

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 56 of 136

reporting act.

(51} The constitution should be ammended to allow all citizens of voting age in any prison the right to vote for a
representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The
total prison population shall be added to the census for the country. No additional seats shall be added to the
house.

[52] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote
for a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote.
The total population shall be added to the census for the country. No additional seats shall be added to the house.

[53] The government shall establish a set of specifications for the minimum features a health plan shall contain to be
called copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[54] The intentional termination of life by any third party for money for all individuals from 84 months old after conseption
to 30 months old after conseption shall be considered a crime.

[55] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge
and individual charge.

[56] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL IN THE
COMMONWEALTH OF PENNSYLVANIA SHOULD BE DENIED because it should be an injunction pending Appeal.

[57] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local
specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[58] Judge Rendell should recuse herself because of her involvement with this case, dating to 13MAY1985 and her
current spouse involvement with the Insurance industry.

[59] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[60] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place
by the president of the United States.

[61] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and
if they cannot be segraated all votes where they are mixed should be discarded.

[62] Order Tami, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken
Krieger be compensated at a minimum of $250,000 dollars

[63] Order the heirs to the estate of Micheal Rosenblum be compensated at a minimum of $250,000 and at least 1% be
paid by officers of the Baldwin Pennsylvania Police Department.

[64] Order the heirs to the estate of Davud Kassik be compensated at a another minimum of $250,000 and at least 1%

be paid by former officer former Lisa Mearkle of the Police Department.

PAGE 56 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 57 of 136

[65] Princeton University pay a one million dollar penalty for limiting GOD in favor of protests

[66] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
O3SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[67] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,
including both children of Budd Dwyer and the individual Mr. Smiles identied as “K” living in his car via email to Mr.
Cutler.

[68] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and
Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment of at least 10% of
their NET WORTH.

[69] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used instead of CARES
act money to balance the Pennsylvania Budet

[70] SEPTA needs a temporary route 377 (it means minus 1 in octal) to make up for the closure of the Market-Franford
station at Sommerset. It would go from Huntington to Allegheny stations with free 1 hour pass for the Market
Frankford line EL, to compensate residents for the poor job SEPTA and Leslie Richards have been doing. Mr. Cutler
has previously testfied about a vision for SEPTA in the future.

[71] Leslie Ricards should pay for the Driver salary for Route 377 from her compensation.

[72] Have the deaths of George Segal and Robin Williams be investigated to see if they were related to BAD ACTORS in
the FEDRAL GOVERNMENT.

[73] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[74] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[75] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[76] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

[77] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter, and
Dion Williams.

[78] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify
under OATH.

[79] Order Traveller's Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[80] Order every employee at PBS/NPR especially BRIAN NAYLOR, to dedicate 10% portion of their pension or
paycheck to a fund or face prosecution for 18 U.S.C. § 3, 18 U.S.C. § 653- ACCESSORY TO MURDER AFTER

THE FACT, MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

[81] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with

PAGE 57 of 136

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 58 of 136

<ref> htips://www.youtube.com/watchév=XqngkJolrBk </ref>>

[82] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> <ref>htips://www.youtube.com/watchév=Coxy7gXxOJtA </ref>

[83] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watchév=DJOB2DiINNsY </ref>

(84] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recenily with
<ref> https://www.youtube.com/watch?v=7-w5NZYUICO </ref>

[85] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www. youtube.com/watch?v=WQfOwB-k7yQ </ref>

[86] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recenily with
<ref> htips://www.youtube.com/watch?v=xNdIBw/z_aw </ref>

[87] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www. youtube.com/watch?v=DV-92HMNGuY </ref>

[88] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www.youtube.com/watch?v=ONc7g3PqtOM </ref>

[89] GOOGLE is guilty of violating and in conjunction with every other news media including ABC, CBS,
NBC is guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

[90] Kara N. Templeton, Christopher Leppler, Judge Nicholas G. Garaufis, Judge B. Denise Commins have

conspired to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and pay a fine equal to their
pension for 10 years.

[91] ALL PENALTIES THAT THE IRS HAS LEVIED AGAINST MARILYN CUTLER SHOULD BE VACATED because OF
MAIL FRAUD.

[92] Dr. Levine and other PUBLIC heaith officials should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any
payments made to them, and pay the equivalent of Social Security Death payment for everyone that died in
Pennsylvania and the United States, as well as all media organizations that also participated in the deaths
(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[93] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with engines

from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and provide

PAGE 58 of 136

 

 

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 59 of 136

new capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[94] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED $ 250,000

[95] Order all individuais that have contributed to the Pandemic Destroy America Fund pay twice the amount paid into
the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, Michael Bloomberg, George Soros pay 10% of their
net worth as a fine for trying to destroy the United States and electoral fraud and the constitution as well as all
similarly situated.

[96] Order all Government employees that paticipated in any of the mentioned crimes pay 10% of their pension into a
fund to allow equal justice as well as Karie Couric for her support for camps for reprogramming. <ref>
https: //www.thequardian.com/world/2021/jan/12/uighur-xinjiang-re-education-camp-china-quibahar-haitiwaji </ref>
AS WELL AS STATING 6 MILLION WAS NOT ENOUGH.

[97] Besides the conspiracy of Amazon, Twitter, it should also include Wikipedia, Google and others not identified, for
trying to elininate GOD.

[98] Mr. Bezos should be incarcerated until Parler has been made whole, and he pays everyone in the United States that
lost money $ 2,000 , along with the president of ABC Channing Dungey, and James Comey(Approximately 400
billion)

[99] Order all charges against Donld Trump and associates be vacated for violating FRUIT OF THE PISONOUS TREE.

{100] | Order Jonathan Carl pay an amount of 1,000,000 or face aiding and abetting charges with concealing the Bio-
Warfare attack on the United States, and providing Aid and Comfort to the Enemy.

[101] Order all federal employees of the courts, that violated the law, especially the clerks pay 10% of their pensions
for providing Aid and Comfort to the Enemy and violating their oaths of office

[102] Order the case be remanded to Missouri as part of case 1:20-cv-00099 with the Peoples Republic of China

[103] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

established tenets or teachings of such sect or division of ANY religion in violation of the U.S.

Constitution amendment 1 and declare the ACA unconstitutional , based on the 89 page writ of USCA case 17-
2709 on page 314A, and Supreme court case # 15-632 plus the writ filed by the WHITE HOUSE as 19-840, 19-

1019 and Declare that no jurisdiction of the United States can dictate the proper way to pray.

Dated: , 202)

 

 

BY THE COURT

PAGE 59 of 136

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 60 of 136

ADDENDUM

 

 

PAGE 60 of 136
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 61 of 136
Case: 20-1805 Document:54 Page: 1 Date Filed: 04/01/2021

UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
No. 20-1805
Jeffrey Cutler v. Speaker of the House of Repres, et al
(District Court/Agency No.: 5-19-cv-00834)

ORDER

No action may be taken on the motion to reopen at this time. A motion to reopen cannot be
processed until either the docketing and filing fees have been paid to the District Court or a
properly executed motion for leave to proceed in forma pauperis filed.

The above deficiencies must be corrected on or before 04/15/2021. If the deficiencies are
corrected within the time stated, the motion to reopen will be submitted to a panel of the Court.
For the Court,

s/ Patricia S. Dodszuweit

Clerk

Dated: April 1, 2021

JK/cc: Jeffrey Cutler,
All Counsel of Record

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 62 of 136

 
 

 

SECEF case Search Calendar Opinions Orders/Judgments Briefs XML TXT Logout - Help

If you view the you will be charged for 5 Pages $0.50

General Docket
Third Circuit Court of Appeals

 

 

 

Court of Appeals Docket #: 20-1805 Docketed: 04/21/2020
Nature of Suit: 2440 Other Ci Rights Termed: 03/10/2021
Jeffrey Cutler v. Speaker of the House of Repres, et al

Appeal From: United States District Court for the Eastern District of Pennsylvania

Fee Status: Due

 

 

Case Type Information:
1) civil
2) United States as party
3) civil rights

 

 

 

Originating Court Information:
District: 0313-2 : 5-19-cv-00834
Trial Judge: Jeffrey L. Schmehi, U.S. District Judge
Date Filed: 02/26/2019
Date Order/Judgment: Date Order/Judgment EOD: Date NOA Filed:
03/04/2020 03/04/2020 04/14/2020

 

 

 

 

 

07/10/2020 45 ECF FILER: LETTER on behalf of Appellee Fulton Bank. Appellee Fulton Bank will adopt the Appellee Fulton Bank
requests to join in Appellee Verizon Pennsylvania, LLC’s Motion for Summary Affirmance on behalf of Appellee
Verizon. Certificate of Service dated 07/10/2020.Service made by ECF, US mail. This document will be SENT TO
THE MERITS PANEL iffwhen applicable. [20-1805] (JAT) [Entered: 07/10/2020 04:16 PM]

07/14/2020 46 ECF FILER: Response filed by Appellee Verizon to motion. Certificate of Service dated 07/14/2020. [20-1805] (BLC)
[Entered: 07/14/2020 01:00 PM]

07/16/2020 47 ECF FILER: LETTER on behalf of Appellee State Farm Insurance. Appellee State Farm Insurance will adopt the
Verizon Pennsylvania LLC's July 14, 2020 response to Appellant's petition for surmmary affirmation, pursuant to
Federal Rule of Appellate Procedure 28(i) on behalf of Appellee Verizon. Certificate of Service dated
07/16/2020.Service made by ECF, US mail. This document will be SENT TO THE MERITS PANEL iffwhen
applicable. [20-1805] (SEC) [Entered: 07/16/2020 02:47 PM]

07/16/2020 48 ECF FILER: Reply by Appellee Fulton Bank to motion. Certificate of Service dated 07/16/2020. Service made by
ECF, US mail [20-1805] (JAT) (Entered: 07/16/2020 03:52 PM]

07/16/2020 49 RESPONSE on behaif of Appellant Jeffrey Cutler to Letters to the Clerk of ECF 35, 37, 38, 40,44, 45 and 46 in
Support of Summary Affirmation Because of Obstruction of Justice and Conspiracy to Commit Mail Fraud. Certificate
of Service dated 07/16/2020. Service made by ECF, US mail. UK) [Entered: 07/17/2020 06:26 PM]

07/21/2020 60 ECF FILER: Motion filed by Appellee Haverford Township Police Department to summarily affirm. Certificate of
Service dated 07/21/2020. Service made by ECF. [20-1805] (RPD) [Eritered: 07/21/2020 06:36 PM]

07/27/2020 61. EXTENDED RESPONSE on behalf of Appellant Jeffrey Cutler to ECF 35, 37, 38, 40, 41, 43, 44, 45, 46, 48 8 50 in
Support of Summary Affirmation Because of Obstruction of Justice and Conspiracy to Commit Mail Fraud and Other
Crimes. (JK) [Entered: 08/05/2020 11:42 AM]

03/10/2021 $2 ORDER (Clerk) dismissing case, pursuant to F_R.A.P..3(a).and LAR 3.3 and Misc. 107.1(a), for failure to pay the
filing fee for the notice of appeal. Case terminated on 03/10/2021. (JK) [Entered: 03/10/2021 03:28 PM]

PETHION filed by Appellant Jeffrey Cutler for En Banc Hearing Beacause of Crimes (18 U.S. Code Section 1519 -
Destruction, alteration or falsification. of records), 15 U.S.C. Section 78dd-1, Mail Fraud, Equal Protection and to
Combine Cases for Judicial Efficiency and Summary Affirmation, also construed as a Motion to Reopen . Certificate
of Service dated 03/17/2021. (JK) [Entered: 04/01/2021 03:43 PM]

04/01/2021 54 NONCOMPLIANCE Order sent to Appellant Jeffrey Cutler requesting either payment of the filing fee or a Motion to
Proceed In Forma Pauperis. Compliance due 04/15/2021. (JK) [Entered: 04/04/2021 03:48 PM]

03/17/2021

 

 

 

 

 

 

 

 

PACER Service Center

| Transaction Receipt

| Third Circuit - 04/06/2021 06:24:06

IPACER Login: |ik6550 Client Code: |

[Description: Case Summary Search Criteria: | 20-1805
[Billable Pages: lh I[Cost: ‘los 0

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 63 of 136

  

ig

vo 4
5 (€) @Oe https: //sequre.ag. state. mi.us/complaints/consumer.aspx

     
   

 

 

 

Q. Search

 

 

michigan.gov
State of Michigan

oS fe iter ee

Thank you for your Complaint / Inquiry

 

Your complaint has been successfully submitted. Please print and/or save this confirmation for your
records.

 

The Attorney Generals Consumer Protection Division has received and will be reviewing your correspondence. Please retain this confirmation as it
includes the Attorney General number assigned to-your correspondence. If your correspondence involves a consumer complaint, the Attorney
Generals office will likely contact the company on your behalf.and provide you with a copy of the response we receive. If your correspondence
involves a question or a request for information, we will respond to your inquiry as soon as possible.

 

The Attorney General's office helps thousands of consumers each year. We want to help you resolve your complaint to your satisfaction. Because
of the enormous volume of complaints we receive, however, the Attorney Generafs office cannot file lawsuits on behalf of individual consumers.
Rather, the Attorney General will gue a company only when the general public interest is involved or in certain cases involving a large number of
consumers. Accordingly, if you feel that a lawsuit may be necessary in your case, you may wish to file a complaint in Small Claims Court or hire your
own attorney.

 

 

If your correspondence is just to give us information and you indicated that you do not need us to respond, thank you. The material you provided will
remain part of our public database. You will not hear from us again unless we have questions.

If you need to supply additional information and/or documents, please include in the subject line the folowing Complaint identification Number:
2021-7p04131905833-A

COMPLAINT MIDLAND CREDIT MANAGEMENT

 

® Email: cp ocs@mithigan.gov Sincerely yours,
@® Fax: (517) 241-3771 Consumer Protection Division
® Mail PO. Box 30213, Lansing, Ml45909 (877) 765-8388

(517) 373-1140

 

Web Complaint Number: 2021-cp04131805833-A Submitted: 4/13/2021 6:05:48 PM

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 64 of 136
Case: 19-1842 Document:85 Page:1 Date Filed: 01/11/2021

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

January 8, 2021 (202) 479-3011

Clerk
United States Court of Appeals for the Third Circuit

 

601 Market Street, Room 21400
Philadelphia, PA 19106

Re: Mahanoy Area School District
v. B. L., a Minor, By and Through Her Father, Lawrence Levy
and Her Mother, Betty Lou Levy
No. 20-255
(Your No. 19-1842)

 

Dear Clerk:
The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is granted.

Sincerely,

Kull &. Yous

Scott S. Harris, Clerk
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 65 of 136

In The
Gnited States Court of Appeals —W sPR-4 9 34

for the Third Circuit OPEN PA

19-1842

B.L a Minor, et al,
Plaintiff-Appellees

JEFFREY CUTLER
Intervenor Plaintiff-Appellee

V.

MAHONOY AREA SCHOOL DISTRICT
Defendants-Appellant

Appeal from Middle District of Pennsylvania 3:17-cv-017344the Order/Judgment entered
April 22, 2020 in the United States District Court for the Eastern District of Pennsylvania
at No, 5:19-cv-00834 and Clerk's order of March 10, 2021.

EMERENCY EXPEDITED PETITION FOR ENBANC HEARING
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,
alteration, or falsification of records), 15 U.S.C. §§ 78dd-1,MAIL
FRAUD EQUAL PROTECTION AND TO COMBINE CASES FOR

JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION

ORAL ARGUMENTS REQUESTED

PAGE 1 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 66 of 136

Here comes Jeffrey Cutler, Intervenor Paintiff-Appellee in this case states that Mr.
Cutler believes that the persecution of B.L a Minor, et al., was by members of an
organization which may have members that may be members of a group that has
persons that dislike JEWS , and/or wicked. In lieu of a hearing in the Supreme Court
Mr. Cutler petitions this court for an EMERENCY EXPEDITED PETITION FOR
ENBANC HEARING BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,
alteration, or falsification of records), 15 U.S.C. §§ 78dd-1,MAIL FRAUD EQUAL
PROTECTION AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY AFFIRMATION. Mr. Cutler asserts this PETITION is timely since it
responds to the action by the court in this case of 08JAN2021 granting a hearing in the
Supreme court and a letter by the clerk in case 20-1805 on 01APR2021 detailing that
no action would be taken in case 20-1805 based on an Order of the Clerk to dismiss
based on failure to make payment. Mr. Cutler notified the court that the Order to
dismiss is grand conspiracy to attack the United States as an act treason and revenge
and violates equal protection. The demoNcratic party in connection with the Peoples
Republic of China, news media, and others have engaged in an effort to engage in
activities based on bribes and cheat every American citizen out of religious freedom.
The clerks and judges in varied courts including New York, Washington DC, have
acted in concert to destroy documents to conceal the greatest [[Electoral fraud]] in the
history of the United States. The order to DISMISS was UNCONSTITUTIONAL

because it violates EQUAL PROTECTION, and a CONTINUING CONSPIRACY,

PAGE 2 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 67 of 136

which has been aimed at Mr. Cutler since he filed his first challenge to
OBAMACARE, 31DEC2013 in case 1:13-cv-2066 when the clerks office on
25JUL2014 CONSPIRED TO IGNORE PROPER PAYMENT, based on bribes
and other illegal activity by clerks and judges in various courts, to conceal the

MURDER of Jonnathan Luna, by members of the KKK or persons related to the

 

organization. The clerks office in case 20-1805 finally issued a NONCOMPLIANCE
warning letter and time to correct any defect, as required by law, of the payment
received by Steve Thomas. Because the document filed by Mr. Cutler was ignored he
filed to intervene in a related case in District court in case 2:21-cv-01290 on
23MAR2021. His unopposed motion was denied by the judge one day later, and Mr.
Cutler filed a mail fraud complaint against the judge. Mr. Cutler now petitions this
court for an EMERENCY EXPEDITED PETITION FOR ENBANC HEARING
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records), 15 U.S.C. §§ 78dd-1,MAIL FRAUD EQUAL PROTECTION
AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
AFFIRMATION. The clerk’s office in Washington, DC hid or destroyed Mr. Cutler’s
Erratta Motion to Intervene. The previous document sent to the the court on
01MAR2021 was hacked by parties unknown and changed the case number from
1:21-cv-00445 to 1:20-cv-00445 in this document. This document replaces the 311
page document filed for case 1:20-cv-00445. On 13JAN2021 at 4:10 PM, that latter

date Mr. Cutler filed a 321 page document for case 20-1422 which contained

PAGE 3 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 68 of 136

EXCULPATORY EVIDENCE OF DOCUMENTED ELECTORAL FRAUD
(page 62, 67 and 320 & first 69 pages in addendum) a CONSPIRACY to ENGAGE
in CRIMINAL ACTIVITY. This document is still not present on the docket, a
federal crime. It is believed this is has been based on BRIBES and COLUSION with
funds from CHINA to hide an international effort to engage in [[Biological warfare]]
with a primary target being the United States, and DESTROY the value of the
UNITED STATES DOLLAR. DR. FAUCCI, KRISTEN WELKER and Persons
of the CDC have LIED about an Approved Vaccine to Stop COMPLICATIONS
from the FLU & COVID-19 and & Ivermectin to treat it. <ref>
https://nypost.com/2021/02/05/youtube-cancels-the-senate-and-other-commentary/ </ref><ref>
https:/Avww.futuremedicine.com/doi/10.2217/fea-2020-0082 </ref>. They are called PNEUMOVA X23 and

Prevnar13 which are the PRIME COMPLICATION TO THE COVID-19 that result in

 

DEATH from pneumococcal disease <ref> https://www.diabetes.org/diabetes/medication-management/flu-
and-pneumonia-shots </ref>. KRISTEN WELKER’S HUSBAND IS A MARKETING
EXECUTIVE FOR MERCK. THE TESTING KITS ARE TAINTED AND
HELPING TO INFECT PEOPLE AROUND THE WORLD <ref>

https:/Avww.govinfo. gov/content/pke/CHRG- 11 0hhrg53183/html/CHRG-110hhre53183.htm </ref><ref>
https:/Avww.nytimes.com/2008/03/06/health/06heparin. html </ref><ref> https://www.latimes.com/archives/la-xpm-2008-mar-
20-na-fda20-story.htm! </ref><ref> nitps://en.wikipedia.org/wiki/2007_pet_food recalls </ref> <ref>

https://www.latimes.com/business/story/2019-09-18/carcinogen-scare-tainted-zantac </ref> COVID-19 is Biological

 

warfare <ref>nhtips://en.wikipedia.org/wiki/Biological warfare </ref>$ NOTE CHINA GONE

PAGE 4 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 69 of 136

FROM LISTS AND PROGRAMMED TO BE EXCLUDED JUST LIKE VOTES
FOR TRUMP. It is believed that the testing components may be tainted and is the
real reason that so much propoganda has been placed on testing when vacinations for
to stop these deaths is cheaper and readily available. A previous document in case 21-
40001 was altered by persons unknown to protect the CRIMES of the FBI/CIA and
KLU KLUX KLAN. It also shows BIAS and MALICIOUS intent to violate
EQUAL TREATMENT under the law, a violation of the United States Constitution
Ammend 5. Jeffrey Cutler has STANDING and it was granted by the USCA in DC
on 14AUG2015 for case 14-5183 , an ORDER does not EXPIRE. Mr. Cutler was
granted the RIGHT to protect the ESTABLISHMENT CLAUSE by the court and
has been trying to pursue his first ammendment right to PETTION THE COURT
FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-05228 Judge
Nicholas G. Garaufis (Eastern District of New York) SIMPLY STATED MR.
CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL PROTECTION
UNDER THE LAW AND HAD THE DOCUMENT RETURNED WITH NO
RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a
Sonderkommando, elector for Joe Biden and the current Attorney General of
Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part B
coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically

stated the program was ILLEGAL. These persons are being GRANTED EXTRA

PAGE 5 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 70 of 136

RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second
generation American and JEWISH, eligable to be President or Speaker of the House.
In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from Mr. Torres
dated 12APR2018 (the same day in 1945 Harry Truman was sworn in as President)
that all voting methods must have a HARD COPY RECORD AVAILABLE filed
200CT2020, as part of funding from the FEDERAL GOVERNMENT!! The laws
were altered in Pennsylvania to provide DROP BOXES that failed to have this
provision. The DOMINION VOTING SYTEMS ALSO FAIL TO HAVE A HARD
COPY RECEIPT AVAILABLE. Mr. Cutler had stated these ballots violated the states
OWN order, and a judge should declare they are ILLEGAL, just like the term that
may presently describe the sick bird Philadelphia football team ILL EAGLE. The
Citizens of the State of New York and may have been violated by equal protection
03JAN2021 based on possible bribes or collusion to LOOSE the football game due to
substitution of the Quarterback, so the GIANTS were not able to be in the playoffs, the
coach has since been terminated. On 13JAN2021 at 4:10 PM, a 321 Page
AMMENDED & CORRECTED EMERGENCY EXPEDITED PETITION FOR
HEARING ENBANC AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY AFFIRMATION in Philadelphia USCA case 20-1422, which was prior

to the vote of the SNAP IMPEACHMENT with NO abilility of the president to present

PAGE 6 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 71 of 136

any witnesses or other EXCULPATARY evidence This was equivalent of a HIGH
TECH LYNCHING (to quote Clarence Thomas) just like Mr. Cutler was subjected.
The comments of the president were selectively EDITED to remove the word
peaceful, and the concept this speech incited the riot is contradicticted by reports that
the FBI knew about activities for over a month (the document is contained in the
Addemdum). This impeachment as fair was as true and correct as the attack on
11SEP2012 when [[Susan Rice]] stated “But our current best assessment, based on the
information that we have at present, is that, in fact, what this began as, it was a
spontaneous -- not a premeditated -- response to what had transpired in Cairo. In Cairo,
as you know, a few hours earlier, there was a violent protest that was undertaken in
reaction to this very offensive video that was disseminated.” On 12JAN2021 Jeffrey
Cutler filed a MAIL FRAUD complaint against AMAZON and Jeffrey Bezos and on
11JAN2021 filed a MAIL FRAUD complaint against TWITTER and Jack Dorsey.
The MAIL FRAUD complaints are based on being a INVESTOR in both companies
and the ANNUAL REPORTS OF BOTH COMPANIES that are MAILED to Mr.
Cutler and other investors and statements in those reports.

THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN
PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 200CT2020
PAGE 169 OF CASE 20-2936 PAGE 9 OF THE LINK BELOW ORIGINALLY
FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF USCA CASE 20-2936,

PAGE 320 OF CASE 20-1422 FILED 13JAN2021 AT 4:10 PM (BEFORE THE

PAGE 7 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 72 of 136

IMPEACHMENT VOTE) AND PAGE 384 OF DOCUMENT FILED IN FIFTH
CIRCUIT 21-40001<ref>
https:/Avww.courtlistener.com/recap/gov.uscourts.pamd.127057/gov.uscourts.pamd.127057.181.0.pdf </ref> THE DROP
BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT
AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO THE
CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN JOURNALIST
AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA AND THE
POLICE, THAT IS WHY SHE WAS MURDERED. PER USCA CASE 17-1770
JOQE BIDEN WAS PART OF A GROUP HELPING TO SMUGGLE STOLEN NAZI
ART INTO THE UNITED STATES AND BILL COSBY FOUND OUT. On
13JAN2021 JOSH SHAPIRO is named in part of a Petition [[En banc]] in the USCA
in [[Philadelphia]] on Page 62 is a letter from [[Nancy Pelosi]] to [[Ted Wheeler]]
dated 27AUG2020 SUPPORTING VIOLENCE IN [[Portland, Oregon]], On Page 67
is EVIDENCE OF COMPLAINT of [[Electoral fraud]] made to Office of Attorney
General Josh Shapiro 24DEC2020 at 7:50 AM. On Page 68 is a letter of a Private
Criminal Complaint About Perjury and Obstruction of Justice made to Office of
Attorney General Josh Shapiro dated 20JUN2017, that concerns the MURDER of
[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see [[Publican and the Pharisee]] and
[[Parable of the Unjust Judge]]. Watch https:/vww.youtube.com/watch?v=mgCle8F_zUk for more
information and read comments sorted newest first. Also see <ref>

https://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-human-services/ </ref>

PAGE 8 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 73 of 136

and <ref> hitos://www.brennancenter.org/legal-work/corman-v-torres </ref><ref>
htips://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdt </ref><ref>
httos://www.pacermonitor.com/public/case/27231978/CUTLER_v PELOSI et_al </ref> As an Official
Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the
actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted
effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Tom Wolf and had an advertisement in the METRO paper on

240CT2018 page 15 :titled “SAVE BILL COSBY”

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING APPEAL
was finally put online in case 20-1449 even though it was actually filed on

20MA Y2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA v.
JOESEPH JOHNSON. The office of the president responded to this by 21IMAY2020.
The president gave a short NEWS CONFERENCE on 22MAY2020 demanding all
places of worship be allowed to open. Employees of the federal government and
others have been involved in a criminal conspiracy to OBSTRUCT JUSTICE and
damage the United States. In case #20-5143 DC USCA Nancy Dunn obstructed
documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref> Mr. Cutler
had sent a 330 page document on 17JUL2020 but that document vanished, just like the
white bunny HARVEY, who is invisible in the picture of Mke Pence with his bunny
Marlon Bundo on 16NOV2020 on the front page of the Philadelphia Inquirer. The

USPS tracking number 9510 8141 4908 0199 0615 60 is not reporting results. The

PAGE 9 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 74 of 136

lawyers in sending Mr. Cutler the letters by MAIL makes them all a party to the
CONSPIRACY to INTERFERE IN INTERSTATE COMMERCEand MAIL
FRAUD, and the training agreement (National Democratic Training Committee) document
DEMOMSREATES THIS FACT. On 30SEP2020 at 12:42 PM (RESTAMPED
050CT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND SUMMARY
AFFIRMATION USCA CASE 20-2936. On 150CT2020 at 12:42 PM Jeffrey Cutler
filled a 194 Page AMENDED PETITION TO COMBINE CASES FOR JUDICIAL
EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL
FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND SUMMARY
AFFIRMATION USCA CASE 20-2936. For USCA CASE 20-2936 On 280CT2020
at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC REVIEW of PETITION
TO COMBINE CASES FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18
U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER
CRIMES), AND SUMMARY AFFIRMATION AND PEREMTORY
DISQUALIFICATION OF ALL JUDGES OF THE THIRD CIRCUIT AND MOVE
TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey Cutler filled a PETITION
TO COMBINE ADDITIONAL CASES BEFORE ENBANC REVIEW BECAUSE
OF ADDITIONAL CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records) FOR JUDICIAL EFFICIENCY in USCA case 20-2936

PAGE 10 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 75 of 136

On 23NOV2020 AT Jeffrey Cutler filed al99 page PETITION FOR INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY
AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON IN
PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR
PRESIDENT INC., et al. v. KATHY BOOCKVAR, et al. case 4:20-cv-02078. Mr.
Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.
VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND
OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number
4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> httos://www.courllistener.com/recap/gov.uscourts.pamd.127057/qov.uscourls.pamd.127057.180.0.odt </ref>

<ref> hitps://www.courllistener.com/recap/gov.uscouris.pamd.127057/gov.uscourts.pamd.127057.181.0.pdf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD, and he
got a 193 page report from Steven Carl Quay, MD, PHD (Steven@DrQuay.com) A
COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY and SYDNEY POWELL. Other

organizations had stated COVID-19 is Bio Warfare.

<ref> https://iournal-neo.org/2020/04/15/did-america-just-confess-1o-a-covid-19-bio-war/ </ref>

PAGE 11 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 76 of 136

<ref> hitps://www.rightwingwatch.org/post/covid-1 9-is-chinese-bio-warfare-says-trump-allied-megachurch-pastor-jack-
hibbs/ </ref>

<ref> htips://www.siasat.com/covid-1 9-biowarfare-says-bioweapon-creator-dr-francis-boyle-1866058/ </ref>
<ref> https://www.cnn.com/2020/04/08/politics/biological-warfare-laws-covid-19/index.htm! </ref>

<ref> hitps://www.biologicalweapons.news/2020-02-19-covid-1 9-coronavirus-found-to-contain-gain-of-function-for-efficient-
spreading-human-population.htm! </ref>

<ref> hitps://www.washingtontimes.com/news/2020/jan/26/coronavirus-link-to-china-biowarfare-program-possi/ </ref>
<ref> https://www.city-journal.org/himl/when-germ-warfare-happened-13282.htmi </ref>

<ref> hitps://www.dallasnews.com/news/public-health/2020/03/1 8/dallas-federal-lawsuit-accuses-chinese-government-of-
creating-coronavirus-as-biological-weapon/ </ref>

BASED ON MR. CUTLER'S VALIDATION EXPERIENCE HE THINKS THAT
THE TESTING COMPONENTS MAY BE TAINTED and actually causing increase
in COVID-19. This is based on PREVIOUS actions by CHINA.
<ref>https://www.govinfo.gov/content/pkg/CHRG-110hhra53183/html/CHRG-110hhrg53183.htm </ref>
<ref> hitps://www.nytimes.com/2008/03/06/health/Osheparin.htmi</ref>

<ref>https://www latimes.com /archives/la-xom-2008-mar-20-na-fda20-story.himi</ref>
<ref>nhttps://en.wikipedia.org/wiki/2007_pet food recalls </ref>

18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving ECF
33 filed 280CT2020. Mr. Cutler believes the same technique used in the VW
EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

https://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-

explained.htmi</ ref> <ref>nhttps://www.ydr.com/story/news/ politics/elections/2019/1 1 /06/how-pa-fix-paper-

ballot-voting-problems-before-2020-presidential-election/2507101001/</ref> PER USCA CASE 17-

PAGE 12 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 77 of 136

1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART FROM
WWII. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM VANISHED
IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,

 

alteration, or falsification of records) & MAIL FRAUD AND TO COMBINE CASES
FOR JUDICIAL EFFICIENCY AND SUMMARY JUDGEMENT in the UNITED
STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEW YORK

CASE #1:17-cv-05228 (STATE OF NEW YORK v. DONALD J. TRUMP) AS AN

 

INTER VENOR DEFENDANT.On page 46&47 of USCA case 20-2936 filed
12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is documented evidence of (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) involving ECF
33 filed 280CT2020. Mr. Cutler believes the same technique used in the VW
EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same
programmers <ref> https:/www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-

explained, htmi</ ref> <ref>nttps://www.ydr.com/story/news/politics/elections/2019/ 11/06/how-pa-fix-paper-ballot-voting-

problems-before-2020-presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN
IS INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler

previously had filed copies of documents from case 19-11466 (Bankruptcy of

PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL ),

PAGE 13 of 356
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 78 of 136

in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages 23,
53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders for
the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered
funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the
mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and

allowed it to be ammended in 10 days, <ref> nttps:/www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> nttps://edistricting.lls.edw/files/PA%20corman%2020180724%20brief pdf </ref> and conceal the
MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.
Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been
trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank
robbery by others, insurance fraud on 17MAR2017 and a challenge to OBAMACARE
on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler was granted the
right to challenge OBAMACARE by the USCA in Washington, DC on 14AUG2015.

Mr. Cutler has filed in many cases and has caught persons obstructing justice like in

PAGE 14 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 79 of 136

case 20-5143 (USCA Washington, DC), Nancy Dunn stated she discarded all the
documents and OBSTRUCTED JUSTICE. Many cases involve unopposed motions.
Priority mail tracking number #9510 8066 2091 0225 1534 23. A document sent to
the Supreme court on 30NOV2020 at 4:28 PM used Express Mail, tracking number
EJ5050342510S and vanished also, just like previous documents in federal court. In
case # ON 07DEC2020 JEFFREY CUTLER FILED VIA NEXT DAY MAIL
(EJ505033021US) A 315 PAGE MOTION FOR RECONSIDERATION AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,
alteration, or falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY JUDGEMENT IN CASE 1:17-cv-05228 (STATE
OF NEW YORK v. DONALD J. TRUMP AS A Intervenor Defendant. [[DACA
CASE CITING EQUAL TREATMENT UNDER THE LAW- first 59 pages of 315
attached in the Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD
AND DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED
AS PAGE 169 (#320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v.
THOMAS WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was
recieved on 08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite

| multiple claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the
case in New York, and a MAIL FRAUD complaint has been submitted for his
previous actions and BASED ON A STORY ON PAGE B2 09DEC2020

PHILADELPHIA INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD

PAGE 15 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 80 of 136

BASED ON RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE
59 OF A 315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a
CONSPIRACY to commit MAIL FRAUD with the other electors and is also
AIDING AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the Fact

MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge Clarence C.
Newcomer ruled that the Democratic campaign of William G. Stinson had stolen the
election from Bruce S. Marks in North Philadelphia's Second Senatorial District
through an elaborate fraud in which hundreds of residents were encouraged to vote by
absentee ballot, a form of MAIL FRAUD. On many of the ballots, they used the
names of people who were living in Puerto Rico or serving time in prison, and in one
case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a decision
made public. <ref> htps:/~www.Jeagle.com/decision/199489219f3d8731759 </ref>,

<ref> https:/Avww.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.html </ref>. Even though
the judge is named as part of the complaint filed for case #1:20-cr-00165 for MAIL
FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in case 2:17-
cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE was a

reason to deny ALL motions by Mr. Cutler. It was established that ALL parties

PAGE 16 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 81 of 136

FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same judge has
shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT under the
law, a violation of the United States Constitution Ammend 5, in an effort to violate
Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. § 3
accessory after the Fact MURDER of Jonthan Luna (a BLACK employee of the
FEDERAL GOVERNMEMT),. The same persons that MURDERED Luna based on
the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making PERJURED
STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect parties that
defaulted as well as both insurance companies and their lawyers making false
statements by mail in denying claims. Mr. Cutler believes he should be included in
this case because the Safehouse activity would lower the property values all over
Philadelphia and Pennsylvania and allow illegal drugs to become even more readily
available. This would set a standard for CHINA to attack the United States even
further. The DemoNcrats have pushed for the lowest common demoninater of activity
and depavity to destroy this Republic, and destruction of GOD in favor of the STATE.
This WORLDWIDE attack based on payments and corruption this court MUST deny
them the chance to succeed and promote DRUG DENS in Philadelphia. On

I3MAY 1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be

PAGE 17 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 82 of 136

CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).
Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a
Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,
1985 as a form of Eviction with the aid of persons in the FBI. Shaun Bridges a secrect
service ageny stole over $ 800,000 and was convicted of the crime in NOV2017<ref>

https:/Avww.justice.gov/opa/pr/former-secret-service-agent-sentenced-scheme-related-silk-road-investigation </ ref><ref> The

murder of Sean Suiter was equally tainted https://www.ydr.com/story/news/2020/07/ 10/investigator-death-baltimore-city-police-

detective-sean-suiter-charged-kidnapping-extortion-case/5412238002/</ref>Mr. Cutler had stated that he
believed that the MURDER of JONATHAN LUNA was carried out by the KLU
KLUX KLAN, and concealed with help of persons of the FBI. Mr. Cutler based on
his past jobs & training that the COVID-19 pandemic is BIO-WARFARE against the
world from CHINA and CORRUPT OFFICIALS & CORRUPT MEDIA in
violation of the FCPA and the Logan Act Stat. 613, 18 U.S.C. § 953 with China.
Based on his previous contracts in VALIDATION for MERCK , BAXTER, J&J etc.
GMP training and the only 1050 cases and 10 deaths in TAIWAN as of 06MAR2021,
THAT THE TESTING COMPONENTS MAY BE TAINTED and actually causing

increase in COVID-19. This is based on PREVIOUS actions by CHINA.

PAGE 18 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 83 of 136

<ref>https://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/html/CHRG-110hhrg53183.him </ref>
<ref> hitps://www.nytimes.com/2008/03/06/health/Oéheparin.htmi</ref>

<ref>httos://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.himl</ref>

<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current
non-binding mandate from the Dr. Levine and others in other STATES may be trying
to increase the number of cases, to HARM the UNITED STATES based on bribes
and TREASON by mostly DemoNcrats and some Republicans posing as good people
who are RHINO’s, when President Trump may have been the first DINO identified
since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations is
complicit in the deaths in the United States. Although Thanksgiving was not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA. , INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing
without a court order violates the FIRST Amendment, just like you cannot be forced
to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures
PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the
company, and should be prosecuted just like Martha Stewart was charged and put in
prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a

DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the

PAGE 19 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 84 of 136

county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>
https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/</ref> On
or about 144UG2020 Tom WOLF reversed himself but dictated that Lebanon County
MUST use 2.8 million of the CARES act funding for MASK ADVERTISING in
direct support of Joe Biden’s campaign focus <ref> https://papost.org/2020/08/14/reversing-
course-wolf-releases-cares-act-funding-to-lebanon-county/</ref>, which is five years since the
USCA in Washington ruled Mr. Cutler had the right to Defend the Establishment
clause (case 14-5183) and 75 years since VJ day of WWII. DR. FAUCCI, KRISTEN
WELKER and Persons of the CDC have LIED about an Approved Vaccine to Stop
COMPLICATIONS from the FLU & COVID-19
<ref>nttps://www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAXZ23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ref>. KRISTEN WELKER’S
HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On 22JUN2020 a
PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL was finally put
online in case 20-1449 even though it was actually filed on 20MAY2020 at 4:10 PM..
The case is called the UNITED STATES OF AMERICA v. JOESEPH JOHNSON.

The office of the president responded to this by 21IMAY2020. The president gave a

PAGE 20 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 85 of 136

short NEWS CONFERENCE on 22MAY2020 demanding all places of worship be
allowed to open. Employees of the federal government and others have been
involved in a criminal conspiracy to OBSTRUCT JUSTICE and damage the United
States. In case #20-5143 DC USCA Nancy Dunn obstructed documents mailed and
sent to <ref> prosefilings@cadc.uscourts.gov </ref> Mr. Cutler had sent a 330 page
document on 17JUL2020 but that document vanished, just like the white bunny
HARVEY, who is invisible in the picture of Mke Pence with his bunny Marlon
Bundo on 16NOV2020 on the front page of the Philadelphia Inquirer. The USPS
tacking number 9510 8141 4908 0199 0615 60 is not reporting results. The lawyers
in sending Mr. Cutler the letters by MAIL makes them all a party to the
CONSPIRACY to INTERFERE IN INTERSTATE COMMERCE. Mr. Cutler’s
brother FRED had recently got a job as an USHER for the PHILADELPHIA
PHILLES for the 2020 season, but because of the CONSPIRACY to close the states
there will be no live viewing of games in the 2020 season. Mr. Cutler’s brother and
approximately 69 MILLION other people (approximate attendence of 2019 baseball
season) have been denied the RIGHT of PURSUIT OF HAPPINESS as is part of
the DECLARATION OF INDEPENDENCE. Thomas Wolf and Jim Kenney have
allowed almost unrestricted protest marches with POLICE escorts, but cancelled other
parades and events. Mr. Cutler had proposed an option to have games played in
every city. As stated by Judge James C. Dever HI ruling 1}6MAY2020 there is NO

PANDEMIC EXZEMPTION IN THE CONSTITUTION. The news media in

PAGE 21 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 86 of 136

concert with individuals in the DEMOCRATIC party have and some that pretend to
be REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed
a complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE
OF FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS
IS A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating 18
U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee is
Jonathan Luna <ref> hitps://en.wikipedia.org/wiki/lonathan Luna </ref> and Beranton Whisenant
<ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and Sean Suitter.
The recent murder of Roy Den Hollander in New York for challenging the news
media (case 1:16-cv-06624) is just another crime concealed from the public. That case
is included by reference and joined to this one. The crime-fraud exception was first
recognized in the United States over one hundred years ago, and the policy behind it
is well-defined. (The crime-fraud exception was first recognized in the United States
in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal community does not deem
discussions concerning future wrongdoings, such as fraud, that occur during an
attorney-client communication worthy of protection. Id. at 562-63. While the
practice of law encourages full and frank communications between the attorney and
client, only communications concerning past wrongdoings are protected. Mr. Cutler

had previously been elected to Public Office as the TAX COLLECTOR of East

PAGE 22 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 87 of 136

Lampeter Township, Lancaster County Pennsylvania, based on an Election in
November 2013. and took the Oath of OFFICE prior to his first day on the job, on
06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013 regrding violations of
Religious Freedom as case number 1:13-cv-02066. He was granted the right to
challenge OBAMACARE in Appeal as case 14-5183 on 14AUG2015 for violations
of the ESTABLSHMENT CLAUSE. Mr. Cutler was removed from Office after 27
months based on PERJURED TETIMONY, and a CONSPIRACY TO COMMIT
MAIL FRAUD and BANK ROBBERY. In Manhiem township Patricia Kabel
(elected the same year as Mr. Cutler) was harrased in a similar manner was equally

harrased in court and the township spent about 160,000 of taxpayer money to make

her leave office. <ref> https://lancasteronline.com/news/local/commonwealth-court-denies-manheim-

township-school-districts-appeal-in-long-running-tax-collector-case/article_127508cc-c2e5-1 lea-864a-8b754638d23f html

</ref>Based on these actions Mr. Cutler investigated the parrties involved and tried to
have a FEDERAL JURY TRIAL to clear his name. Since he found no law firm
would represent him based on contacts with the FBI or law enforcemnt. The lancaster
county treasurer was apponted to replace Mr. Cutler in the collection of taxes and

never had a surety bond until 18JUL2018 <ref> hitps://lancasteronline.com/news/local/lancaster-

county-treasurer-without-insurance-for-millions-in-tax-dollars/article_ef5b90bc-89d5-11e8-8ace-77712e721cba.html

 

</ref> No Prosection of the treasurer was ever instituted, a clear violation of
EQUAL TREATMENT On 20MAY2020. Mr. Cutler won a motion for

reconsideration in the court based on EQUAL TREATMENT under the law in this

PAGE 23 of 356

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 88 of 136

court (case # 1:17-cv-01740 06NOV2017), but the judge failed to award any
compensation as requested and the clerks removed one defendant from the case and
tampered with the document. Pennsylvania has previously had a number notorious
crimes of public employees <ref> nitps://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including
judges Mark Ciavarella & Michael Conahan) convicted of federal crimes that
resulted in convictions. Mr. Cutler filed for an IMMEDIATE INJUNCTION
PENDING APPEAL FOR ALL juridictions of the United States, based on the
ruling in case # 4:20-cv-00081 in the United States District Court for the Eastern
Ditrict of North Carolina on 16MAY2020 by Judge James C. Dever II. Since
Governor Roy Cooper has made public statements that he does not intend to appeal,
this is settled law. Mr. Cutler had filed a Petition to DENY the Motion For Summary
JUDGEMENT and to consolidte related cases of religious discrimination by the
government in case USCA 20-1805 on 14MAY2020 and the document and was not
put online until 22MAY2020. The document filed by Brian L. Calistri on May 8,
2020 contains some perjured statements and since it was sent by mail constitues Mail
Fraud and Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the
murder of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons
in the governments (both federal and state) and also the murder of five children on
May 13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing
the bombs. Mr. Cutler had stated that he believed that the MURDER of

JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed

PAGE 24 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 89 of 136

with help of the FBI. The judge dismissed the case even though 5 parties defaulted
and were properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late
Thomas O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had made
a complaint by mail to the DA office in Lancaster County, Pennsylvania and York,
County Pennsylvania. Mr. Cutler had also filed a motion to intervene on 22SEP2019
in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5) which named
DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a response to
the motion filed in oppoition on 25SEP2019. Even though the document filed on
25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 090CT2019 which not only denied Mr. Cutler’s right to intervene but also
violated the United States Constitution Ammend 1, by making a THREAT BY
MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF GRIEVIENCES.
Tami Levin was replaced by Movita Johnson-Harrell who pleaded guilty to the theft
of approximtely half million dollars. Mr.Cutler had filed objections to limit the
power of the Tom Wolf to classify that religion as a NOT a LIFE SUSTAINING
activity in the Commonwealth of Pennsylvania. Mr. Cutler filed his first lawsuit on
31DEC2013 regrding violations of Religious Freedom as case number 1:13-cv-

02066. He was granted the right to challenge OBAMACARE in Appeal as case 14-

PAGE 25 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 90 of 136

5183 on 14AUG2015 for violations of the ESTABLSHMENT CLAUSE. To this
end Mr. Cutler filed documents in case 4:18-cv-00167-0 to transfer it to Pennsylvania,
but it was DENIED 21JAN2020. Mr. Cutler filed an Appeal for the order on
04FEB2020 in the United States Court of Appeals Fifth Circuit. When that was
illegally ignored. Mr. Cutler filed documents in Pennsylvania. Mr. Cuttler had
requested that district court case number 4:20-cv-0064 in the United States District
Court for the Northern District of Mississippi [TEMPLE BAPTIST CHURCH et al.
vy. CITY OF GREENVLLE et al.], and case number 1:20-cv-00323 in the United
States District Court for the Western District of Michigan [KIMBERLEY

BEEMER et al. v. GRETCHEN WHTMER et al.] and case number 1:20-cv-
01130 (Mr. Cutler had a typing error and previously wrote 1:20-cv-01120) in the
United States District Court for the District ofp MARYLAND, BALTIMORE
DIVISION [ANTIETAM BATTLEFIELD KOA et al. vy. LAWRENCE J.

HOGAN et al.] are also cases that should be part of this consolidation. All charges in
each case should be included by reference for all civil cases as if they are filed with
this filing, for JUDICIAL EFFICIENCY. Judge Catherine C. Blake of Maryland
had one of the documents returned, obstructed justice, and violated 18 U.S.C. § 3
Accessory after the Fact MURDER of Jonthan Luna, on 03JUN2020 (birthday of
Jefferson Davis after it was stamped in on 01JUN2020) after the office of AG in
Maryland had responded to Mr. Cutler. Mr. Cutler has previously called Mr. Wolf a

member of the KLU KLUX KLAN in documents related to this case in federal court.

PAGE 26 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 91 of 136

<ref> https://forward.com/fast-forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-
jaiy </ref>Despite Mr. Cutler filing a request with the state prior to the end of the
WAIVER deadline that ALL BUSINESSES in Pennsylvania be considered LIFE
SUSTAINING , Mr. Cutler has never heard back about his request until
I2MAY2020. Mr. Wolf also NOW has a NEW group to TRACK everyone in
PENNSYLVANIA that has the COVID-19 virus or other secrect police duties.

Based on the case of the aids law project tracking people that have one type of virus is
unconstitutional, and exposing their idenity is equally unconstitutional. The concept
of EQUAL PROTECTION UNDER the LAW is a cornerstone of both the United
States Constitution and the Commonwealth of Pennsylvnia. Based on the story about
Mike Du Toit of South Africa <ref> https://www.dailymail.co.uk/news/article-2478889/White-supremacist-
Mike-du-Toit-plotted-kill-Nelson-Mandela-jailed.html </ref> the BOEREMAG was just another
name for KLU KLUX KLAN. Also Tom Wolf made statements that said that people
cannot be evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on
O7MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in
New York white police officers were beating a BLACK MAN for failing to practice
social distncing (neither police officer was wearing a mask), and they should be
prosecuted for violating the same law that they were alledgely enforcing. It is notable
that Wikipedia has SCRUBBED Mike Du Toit from their records (effectively trying
to rewrite history). Taiwan is about 100 miles from CHINA, yet has less than ten

deaths and 500 confirmed cases. In the Appeals for the Fifth Circuit the Order from

PAGE 27 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 92 of 136

the United States Northern District of Texas dated January 16, 2020 denying
Plaintiffs MOTION FOR RECONSIDERATION OF MOTION TO CHANGE
VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS TO
PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the motion
denying Plaintiff's motion of December 30, 2019. The current order from that court
is in error since the USCA order of December 18, 2019, remanded the case back to
District Court and for further disposition and was unopposed and is still unopposed.
Mr. Cutler had previously filed a document by MAIL on March 1, 2019 but it was
illegally discarded. He then filed on 07MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk decided
it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on 27JAN2020,
(Document 00515289904 International Holocaust Remembrance Day), and it was
only put online when Mr. Cutler informed the Deputy Clerk Mary Francis Yeager
that she was violating Mr. Cutler’s civil rights. It was put online January 29, 2020. A
violation of EQUAL PROTECTION by employee of the federal government, which
treated the two documents differently and potentially hid the document from the
review of the judges considering an ENBANC review. Mr. Cutler subsequently filed
a PETITION FOR ENBANC HEARING AND TO TRANSFER RESIDUAL CASE
TO PENNSYLVANIA AND COMBINE WITH CASE 5:19-cv-00834, this document
was put online as document number 00515298284 on 04FEB2020, the same date it

was filed in court. In the case both Deputy Clerk Mary Francis Yeager and

PAGE 28 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 93 of 136

Deputy Clerk Roeshawn Johnson denied the petition. This violated the United
States Constitution Ammend 1 and 5. It also also violates Mr. Cutler’s rights under
the Sixth Amendment of the Constitution. Mr. Cutler then on 04¢MAR2020 filed a
380 page document in this case (2:19-cr-00367). Within 24 hours of the filing Mr.
Cutler got a threat by phone from an unidentified individual about the filing. On
06MAR2020 Mr. Cutler filed a nine page correction to the document previously filed.
When the document was downloaded from the federal pacer system it was devoid of
any markings. On 12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER
DENYING ORDER OF RECONSIDERATION — ON 04MAR2020 FOR
IMPROPER SERVICE —- BRADY VIOLATION AND COMBINE WITH CASE
NUMBER 2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0
FROM THE NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT.
At that time Mr. Cutler used the terminal in the Federal Courthouse to view some
dockets. In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF
99) NOW was properly marked. Based on this Mr. Cutler printed a second copy of
the document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-
5262, 03-5314). Mr. Cutler requested the district court cases be consolidated in
Pennsylvania and deliberations allowed on an expedited basis since they both involve
related issues and the Supreme Court previously has indicated they will not consider

the case this term, even though oral arguments were already made. This court had
allowed the House of Representatives to be an Intervenor. The petitioner, Jeffrey

PAGE 29 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 94 of 136

Cutler, acting pro se, respectfully previously identified that the speaker of the house
of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical
Examiners. The FBI tried to force two Medical Examiners to say the MURDER
was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that
was later classified a suicide during a special arrest, 1 day before he was to testify.
Other individuals have died unexpectedly, possibly of murder including Beranton
Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted

Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records

 

of Jonathan Luna have finally resurfaced and are currently trying to be
sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in
public documents that he believes Mr. Luna was murdered by the KLU KLUX
KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
hitps://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/521-2229b27 2-9355-43a8-8163-

506440862577 </ref><ref>

hitps://lancasteronline.com/news/local/Ino-county-clash-over-newly-discovered-records-in-ionathan-
luna/article_01ba656a-483b-1 1 ea-86ed-43533b224839.html </ref><ref>

PAGE 30 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 95 of 136

httos://lancasteronline.com/news/local/iancaster-county-judge-qives-prosecutor-days-to-say-why-
jonathan/article_64aa5a86-49ec-11ea-8d57-37ffalb9%ed27.html </ref><ref>

https://www.waal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-federal-
prosecutor-jonathan-iuna/30783745 </ref><ref>

httos://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fight-between-da-news-media.himl </ref><ref>

httos://www.youtube.com/watch2v=cLAldUHDwig </ref> <ref> https://www.nbcnews.com/news/us-
news/disgraced-baltimore-police-officer-says-detective-who-was-killed-testifying-n844831

</ref> <ref> httos://www.cnn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-suicide/index.html

</ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli
Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of
DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref> https://www.youtube.com/watch?v=QV7dDsgbaQo </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A, via district court case

number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable

PAGE 31 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 96 of 136

Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court

in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track

every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef
procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.
Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency
plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is
actually an excuse for MASS GENOCIDE against individuals that are deemed
undesirable including Jewish and black Individuals and to discontinue pensions via
MURDER (see <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref>. It is very easy to
Bribe, coerce or pay individuals to bear false witness against another individual and
violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The
orders Thomas Wolf and other leaders have issued effectively allows the

governments in the United States to discontinue religion in and in the State

PAGE 32 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 97 of 136

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.
Other members of the KLU KLUX KLAN in the United States and the World, are
all organized to take on the HOAX. This was previously called Agenda 21. As of
16MAR2020 Canada was still allowing flights from CHINA and those persons
could be carrying hazardous bio material simply enter the United States from
Canada. When Mr. Cutler was working for Merck as a contractor some individuals
were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.

Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.

 

The closing of all CASINOS in the STATE is to get 100% of all gambling

revenue, to have a total monopoly on all sources of payment organized for a

 

complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the
Allentown Federal Courthouse contains NAZI insigna in the tile work in the building

(pending supreme court case # 19-8538 ), and there is a seven acre compound in

 

Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has
corrected Mr. Cutler’s statement that the insigna is actually in the Post Office tile

across from the courthouse. This all may have a connection of Joe Biden to China and

 

the transfer of technology to them that has violated the world’s civil rights, except
Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in
the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based

on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which

PAGE 33 of 356
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 98 of 136

should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> hittps://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce
Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce_ Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with
China. Since Mr. Wolf’s order is illegal, all the Insurance companies have
conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.
Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf's order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting
qualification or prerequisite to voting, or standard, practice, or procedure ... in a
manner which results in a denial or abridgement of the right ... to vote on account

of race," color, or language minority status. Based on the recent unsealed pleadings
of Judge Domenick Demuro (press release 20-472) , voter fraud has been in
Pennslvania a long time. The use of ABSENTEE ballots that are collected by
individuals denies the minor protection of MAIL FRAUD, usually asociated with
this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that

also may be voter fraud in Philadelphia and Mail Fraud. Since that person never

PAGE 34 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 99 of 136

lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the
guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr
Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY
JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of
governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>nttps:/+vww.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE
COVID-19 that result in DEATH from pneumococcal disease <ref>
| https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based
on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with
COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because
the person would be called LUNCH. HIV has NO VACCINE. This

INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.

PAGE 35 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 100 of 136

Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue
because they waited six months. Based on this the charges against William Henry
Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, just like on 25MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that
day from Chicago. My friend Daria from Russia, stated that collapse of the dollar
was a stated goal of persons. Even in case, 1:20-cv-01130 that the document legally
filed is RETURNED for failing to file a motion to intervene PRIOR to filing the
actual document, violating equal protection under the law and the United States
Constitution Ammend 5 and Ammend 1 by denying the ability for redress of
grievances. Also based on conflicting death reports, declaring a MURDER a
SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials
with the aid of News Outlets. Previous corruption in the United States based out of
Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in

Illinois during some of this time frame and the joke voting saying was VOTE

PAGE 36 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 101 of 136

EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON
NOT TO VOTE <ref> nttps:/en.wikipedia.org/wiki/Operation Greylord </ref>

<ref> https:/Avww.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.htm] </ ref> <ref>
https://www.latimes.com/archives/la-xpm-1987-12-10-mn-28034-story.himl </ref> <ref>
https://fbistudies.com/wp-content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </ ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,
SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a55 MILLION DOLLR FRAUD <ref>
httos://www.nbcsandiego.com/news/local/rabbi-shot-in-poway-synanoque-attack-pleads-quilty-to-
tax-fraud-docs/2365089/ </ref> <ref> https://en.wikipedia.org/wiki/Poway synagoque shooting

</ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme
Richard and effects in TAIWAN are evidence of cooridinated attacks on the
United States which are being hidden from the general population like the civil
case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>
https://thehill.com/policy/national-security/5 12385-former-cia-officer-charged-with-selling-us-secrets-to-china

</ref> <ref> httos://www.bbc.com/news/world-us-canada-48319058_ </ref>
<ref> https://www.bbc.com/news/world-us-canada-50520636 </ref> <ref>

httos://www.nytimes.com/2019/09/24/us/china-intelligence-sentence.html </ref>

PAGE 37 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 102 of 136

The Story <ref> https://www.mercurynews.com/2017/06/14/james-hodgkinson-shooting-
facebook-republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND
SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE
BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND
PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the
MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has
been charged. The Employee is Jonathan Luna <ref>
https://en.wikipedia.org/wiki/Jonathan_Luna </ref> and Beranton Whisenant <ref>
https://en.wikipedia.org/wiki/Beranton_ Whisenant </ref>, Sean Suiter from the BPD .
<ref>  https://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in
East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and
possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY of WI105 and covered up by the MEDICAL EXAMINER <ref>
https://lancasteronline.com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article_ca83b358-céde-11eq-a8eb-67597e2be2cf.himl

</ref> <ref> https://redistricting.lls.edu/files /PA%20corman%2020180724%20brief.pdf </ref> East
Lampeter previous LAWSUITS, theft of PROPERTY <ref>

PAGE 38 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 103 of 136

https://law.justia.com/cases/federal/district-courts/FSUDp2/17/394/2488681/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE
RELIGIOUS FREEDOM) <ref> hittps://dockets.justia.com/docket/circuit-courts/ca3/17-1772
</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the
Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324
page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

https://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> https://www.brennancenter.ora/legal-work/corman-v-torres
</ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref><ref>
htips://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI! et_al </ref> As an Official
Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the
actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted
effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se

candidate against Thomas Wolf and had an advertisement in the METRO paper on

PAGE 39 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 104 of 136

240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was
president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>
https://en.wikipedia.org/wiki/Federal Election Commission#First_Amendment issues </ref>
complaint was filed against [[Youtube]] for illegal edits of comments as an "IN KIND"
contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS
(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Lunal]] <ref>
https://en.wikipedig.org/wiki/Jonathan_ Luna </ref> and [[Beranton Whisenant]] <ref>
https://en.wikipedia.org/wiki/Beranton Whisenant </ref> who was found DEAD the same day
GEORGE FLOYD was MURDERED in 2020. This is documented in federal court
case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]
called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On
Z20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in
USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED
STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL
FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a

MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD

PAGE 40 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 105 of 136

complaints are based on being an INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other
investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST
TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER
CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S
ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME
STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,
ORIGINALLY FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<tref>
https://www.courtlistener.com/recap/gov.uscourts. pamd. 127057/gov.uscourts.pamd. 127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY
RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO
THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with
expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN
PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI
BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD
THE CONSPIRACY WITH KKK/ANTIFA around her with the POLICE, and
THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER

STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.

PAGE 41 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 106 of 136

PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO
SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED
PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT
2:21-cv-00031 in the Western District of Washington should be fully compensated.
Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on
13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she
conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 (the
first 69 pages are attached in the addendum) in the USCA third circuit in
Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMB, with the aid of the media to aid
China engage in biological war fare against the world and weaken the United States.
Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES
of IMPEACMENT have been sent to the SENATE as of this date. Chuck
Schummer had said on the floor of the Senate it was really for inciting an
ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi
on 10JAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland

Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler

PAGE 42 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 107 of 136

filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN2021
AT 4:10 PM and it also VANISHED, copies were sent to over 200 news outlets. The
Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic
violations all based on the fruit of the poisonus tree. This case should be moved to
FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons
from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in
Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and
incarcerate him for identifying the previous conspiracy to hide the MURDER of
Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.
CUTLER WITH TRAFFIC CITATION C6598201-1. Vehicle registration was
reported as postponed.

<ref{> https:/Avww.pennlive.com/news/2020/05/penndot-extends-deadlines-for-vehicle-registrations-inspections.htm! </ref>
and vehicle renewal registration was NOT received by mail. Since this case is proof
the BIG LIE is the TRUTH Mr. Cutler also requests that case 1:21-cv-00213 and
1:21-cv-0040 from the District of Columbia be combined with this case. The
AMERICAN RESCUE PLAN has Dylann Roof

<ref> https://en.wikipedia.org/wiki/Dylann_Roof </ref> To GET $1400 REWARD FOR KILLING
BLACK PEOPLE IN CHURCH AND ON 25MAY2017 BLACK Federal AUSA
Beranton Whisenant was MURDERED and found on Hollywood Beach Florida <ref>
https://en.wikipedia.org/wiki/Beranton_Whisenant </ref> and the FBI covered it up, this 3 years before

George Floyd MURDER. THE EQUIVALENT OF THE KKK IS WORLDWIDE.

PAGE 43 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 108 of 136

Meghan Markle is being attacked for two reasons, one because she is half black, two
because she is half Jewish. she pointed out the media are the attackers. Jeffrey

Cutler had stated she would be a better VP for Joe Biden on air (<ref>
https:/Awww.iheart.com/podcast/459-the-mare-scaringi-show-28240609/ </ref>, because she had no record, she
had international exposure, and she is a real princess. covid-19 is bio-warfare and
blacks die at twice the rate of white people because it works as designed. On
04MAR2021 at about 1:20 PM Jeffrey Cutler filed a 312 page ERRATTA MOTION
TO INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.
Code § 1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1
& MAIL FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT in case 1:21-cv-00445 (U.S. DOMINION, et al. v MY
PILLOW, et al.) UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
COLUMBIA, as an INTERVENER DEFENDANT. On page 80 is screen print of
complaint of ELECTORAL FRAUD made 24DEC2020, on page 81 is the mail fraud
complaint against JOSH SHAPIRO for making FALSE certification by mail. On page
82 is a PRIVATE CRIMINAL COMPLAINT DATED JUNE 20, 2017 to JOSH
SHAPIRO. On page 83 is time stamped Order from Robert Torres (DATED
12APR2018) that REQUIRES ALL VOTING METHODS IN PA HAVE A HARD
COPY RECEIPT AVAILABLE, BY THE END OF 2019. The DROP BOXES IN PA

FAILED TO HAVE A HARD COPY RECEIPT AVAILABLE, AND THEREFORE

PAGE 44 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 109 of 136

ALL VOTES VIA DROP BOXES ILLEGAL. RUSH LIMBAUGH died on ASH
Wednesday and the same day they tried to ERASE TRUMP from Atlantic City. On
12FEB2021 at 10:41 AM JEFFREY CUTLER filed a 321 page MOTION TO
INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code
§ 1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1 &
MAIL FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT in case 1:20-cv-00099 (THE STATE OF MISSOURI, et
al. v THE PEOPLES REPUBLIC OF CHINA, et al.) for engaging in Bio-Warfare in
COLLUSION with the DemoNcratic party. It contains a 193 page REPORT that
SHOWS COVID-19 is LAB DERIVED (www.DrQuay.com) and they tested it on the
SUBWAY in CHINA. Mr. Cutler claims that some of the testing kits are tainted and
are being use purposely to infect people, and that is why the infection rate is so high IN
THE UNITED STATES. Multiple Documents in Federal Court have VANISHED, as
well as sworn testimony and the internet lincs from the “Report and
Recommendations, SEPTA FY 2020, ANNUAL SERVICE PLAN, Eugene N.

Cipriani, Hearing Examiner”. <ref> httos://www.americanfreedomlawcenter.org/press-
release/federal-judge-expert-cannot-testify-that-islamic-jew-hatred-is-false/ </ref> . On 2BMAR2021

Jeffrey Cutler filed a 345 page MOTION TO INTERVENE, AND INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records), 15 U.S.C. §§ 78dd-1 & MAIL FRAUD AND TO COMBINE

CASES FOR JUDICIAL EFFICIENCY AND SUMMARY JUDGEMENT in case

PAGE 45 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 110 of 136

#27-CR-20-012646 STATE OF MINNESOTA v. DEREK CHAUVIN. Despite
sending this to over 400 reporters and lawyers there is not one story about what JC is
doing. This is in a effect a change in venue to Missouri and combine with case number
1:20-cv-00099 Eastern District of MO. This is the same day that in 1933, German
Leader Herman Goering spoke his point of view regarding the mistreatment of Jews.
He made a statement that the persecution of a person just because he (or she) is a Jew
will not be tolerated, and the Camp David Peace Treaty was signed. <ref>

http://www. thepeoplehistory.com/march2éth.himl </ref>, and six million dead jews later.

<ref> _https://www.heraldopenaccess.us/openaccess/coronavirus-is-a-biological-warfare-weapon </ref>
All documents filed in all federal cases by Mr. Cutler should be included by reference.
Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy

involved with this civil rights action and requests the court to notify the DOJ

Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the
murder of a federal employee (18 U.S. Code § 1114), seditious conspiracy

(18 U.S. Code § 2184), activiies affecting the armed forces (18 U.S. Code §

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466
Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court

PAGE 46 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 111 of 136

Maryland, and 1:17-cv-05228 in the Eastern District of New York (The State of New
York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.

Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a
pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.”’) (internal quotations and

citations omitted). The current election for president may be just like 2 Star Trek

 

Episodes combined. <ref> nttps:/en.wikipedia.org/wiki/Bread_and_Circuses_(Star_Trek: The Original Series

</ref> and <ref> https://en.wikipedia.org/wiki/What Are Little Girls Made_of%3F_</ref> and like
the movie <ref> https://en.wikipedia.org/wiki/Moon_over Parador </ref> or the original
unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth
there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information
as true.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the Petion For INJUNCTIVE RELIEF be granted as well as Summary
AFFIRMATION and all votes via DROP BOXES BE STRICKEN in Pennsylvania
and the count be recalculated, and based on Marks v. Stinson Donald J. Trump be

declared the winner <ref> nttps://vww.leagle.com/decision/199489219f3d8731759 </ref> of the

PAGE 47 of 356

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 112 of 136

Presidential vote in Pennslvania, and by reference North Carolina, Wisconsin,
Nevada and Arizona.

Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any
way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting
elected Vice President at the hotel previously known as the Host Farm, but has since
been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania
Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the
executive order signed in 1942 as Executive Order 9066 by FDR
UNCONSTITUTIONAL, during an immediate ENBANC review of this case when
combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE
as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO
PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.
The MURDER of a BLACK man and 15 year old boy should NOT be Considered
MOOT as per order from the Judge ECF 203 and the clerk, as well as the MURDER
OF MALCOLM X and the newly discovered documents of FBI involvement <ref>
https://www.cbsnews.com/video/deathbed-letter-from-former-officer-alleges-nypd-fbi-link-to-malcolm-x-assassination/ </ref>.
The cases number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622,
18-3693, 21-4001 case number 20-5143 in the USCA DC CIRCUIT SHOULD all

be combined , 2:21-ev-00031 Northern District of Washington, plus this case

PAGE 48 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 113 of 136

number 1:21-cv-00445 ALL BE COMBINED FOR JUDICIAL EFFICIENCY and
“GOOD TROUBLE” as per John Lewis and stop 5171 years of persecution of
Jewish Individuals in the case of 1:20-cv-00099 UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF MISSOURI (THE STATE OF
MISSOURI, et al., JEFFREY CUTLER INTERVENOR v. THE PEOPLES
REPUBLIC OF CHINA, et al.). Not GETTING EXPOSED IN A LIE IS NOT THE
SAME AS TELLING THE TRUTH!!! THE DEATH of ASHLI BABBITT WAS
THE START OF KRISTALNAHT IN the U.S. <ref>

https://en.wikipedia.org/wiki/Night_of the Long Knives </ref>”. YOU CAN DESTROY THE
EVIDENCE, BUT YOU CANNOT DESTROY THE TRUTH. At least Four
different federal courts have conspired to deny Mr. Cutler the right to Petition the
government for redress of grievances as part of the FIRST AMENDMENT, in
conjunction with the media, elected and non-elected officials . Based on payments
inside and outside the United States. IMPEACHING ANYONE should demand the
FULL ATTENTION OF THE COURTS AND THE CONSTITUTION, and there
should be NO SHORTCUTS ALLOWED, if the chief judge of the Supreme Court
or a Judge of the Supreme court does not preside in his place then the entire activity
is FRAUD ON THE COURT. The Importation of NAZI war criminals via
operation PAPER CLIP (especially Hans Kammler) is a STAIN on the United States.

Previously, Rush had reported a NBC reporter stated that signing the CLIMATE

PAGE 49 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 114 of 136

CHANGE TREATY in the UNITED NATIONS, Hurricanes would END, this is
NEW_KIND OF STUPID. Just because the Biden Election has not been exposed
as a LIK, IT IS NOT THE SAME AS TELLING THE TRUTH (Para Phrase
from 3 Days of the Condor). YOU CAN DESTROY THE EVIDENCE, BUT

YOU CANNOT DESTROY THE TRUTH: !

PAGE SO of 356

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 115 of 136

Respectfully submitted,

DATE: O6APR2021 /s/ Jeffrey Cutler

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@qmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on April 06, 2021, I filed the
foregoing with the Clerk of the Court for the United
States Court Appeals for the THIRD Circuit via
United States Mail or in person. Participants in the
case who are registered CM/ECF users will be served
by the appellate CM/ECF system. I further certify
that all of the other participants or their lawyers in
this case are registered CM/ECF users except as
follows and they are served by mail or email .

/s/ Jeffrey Cutler
Jeffrey Cutler

CERTIFICATION OF COMPLIANCE

This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2) and
Circuit Rule 40-1 because this brief contains no more than # of pages allowed by
ECF 17 USCA CASE 20-2936, excluding the parts of the brief exempted by Fed. R.
AP. P. 32.

PAGE 51 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 116 of 136

PLAINTIF’S PROPOSED ORDER FOR SUMMARY AFFIRMATION

AND NOW, this, dayof_ SS, 2020 upon consideration Plaintif's Motion for Default

Affirmation and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.

[1] Per Marks v. Stinson, <ref> https:/Avww.leagle.com/decision/1994892 1 9f3d87 31759 </ref>, Donald J. Trump be sworn
in as President, with Mike Pence by removing Joe Biden, and Kamala Harris, if for no other reason he can be removed
from office with OFFICIAL TRIAL as demanded by NANCY PELOSI, SPEAKER OF THE HOUSE and all EXECUTIVE
ORDERS SIGNED BY Joe Biden be declared NULL and VOID.

[2] DOMINION VOTING SYTEMS AND THEIR SUBSIDIARIES PAY 10 TIMES THE REQUESTED AMOUNT ASA

PENALTY.

 

[3] The previous verdict for B.L a Minor, et al., be upheld and affirmed plus a payment of twenty five thousand dollars.
[4] BEND BULLETIN NEWSPAPER AND EO MEDIA GROUP PAY 1 MILLION DOLLARS A DAY UNTIL THEY
PUBLISH THE ADVERTISEMENT SCHEDULED TO RUN ON 14FEB2021 AS A FULL PAGE ADVERTISEMENT IN

EVERY PUBLICATION THEY CONTROL.

 

[5] Order the SUMMARY JUDGEMENT against all defendants be granted and made FINAL at one million dollars per day
or as a neotiated amount.

[6] ORDER THE PEOPLES REPUBLIC OF CHINA PAY AN AMOUNT TO COMPENSATE EVERYONE IN THE UNITED
STATES THAT WAS NOT PART OF THE PLOT AT LEAST $ 1400.00 AND $255.00 FOR EVERYONE THAT DIED.

[7] JERRY NADLER for stating that “GOD'S WILL IS NOT THE CONCERN OF THIS CONGRESS" be identified as a
SONDERKOMMANDO, along with Josh Shapiro.

[8] ORDER JERRY NADLER AND ALL IMPEACHMENT MANAGERS PAY ONE MILLION DOLLAR A DAY PENALTY
UNTIL THEY RESIGN FOR MANUFACTURING EVIDENCE JUST LIKE EAST LAMPTER TOWNSHIP
MANUFACTURED EVIDENCE IN THE EAST LAMPRTER TOWNSHIP CASE AGAINST LISA MICHELLE LAMBERT
AFTER THE POLICE WERE RAPING HER AT GUNPOINT, AND VIOLATING THEIR OATH OF OFFICE.

{9] ORDER THAT RUDOLPH GULIANAI AND SYDNEY POWELL BE COMPENSATED AS APPROPRIATE FOR
SLANDER BY DOMINION, SINCE THE BIG LIE IS THE TRUTH.

[10] ORDER THAT MANDATORY TESTING TO TRAVEL VIOLATES THE THE CONSTITUTION

[11] ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION

[12] Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.

[13] Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with the
voting in Pennsylvania and mailing the vote tally to CONGRESS, and ACCESSORY TO MURDER after the fact.

PAGE 52 of 356
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 117 of 136

[14] Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge
Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert
vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman, David
Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer, Stepen T.
Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against Roger Stone
and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma, etc.), for violations
of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his appointment was
based on perjured testimony, which is verfied by Mr. Steele in a foreign court.

[15] Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.

[16] Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.

[17] Order Nancy Pelosi and Adam Schiff to resign from their elected positions based on crimes identified in this document,

or from their leadership positions and pay 1million dollars per day fine until they agree.

[18] Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge Nicholas

G. Garaufis, Judge Midge Rendel,Judge Ashcroft, and Judge Catherine Blake, Judge Chad Kenney pay twice their
daily salary each day to the innosense project , until they resign.

[19] Order the Peoples Republic of China as DEFAULTED for violating United States Mail Fraud laws by reading the
document and then trying to claim it was refused 1 week later.

[20] Order Tom Wolf, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds.

[21] Order all vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[22] Provide documentation to the court of how much all court costs and legal fees have been to date, and list cost or legal
hours and ALL LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and Donald
Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee documentation
should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

[23] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case, especially
any Officials of the United States Government, and all payments by any George Soros organization.

[24] Order a one million dollar a day penalty per named defendant, until Mr. Cutler's reputation and credit are restored or
individual agreements are reached with each party.

[25] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause
why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO violations,

and 18 U.S.C. § 1964, Civil RICCO Act.

PAGE 53 of 354

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 118 of 136

[26] Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants in
this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113 (bank
robbery) and electoral fraud.

[27] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[28] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded in
their respective lawsuits.

[29] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the
plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP!!

[30] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.

[31] Other remedies the court deems appropriate.

[32] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[33] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[34] The primary election in Pennylvania held June 2, 2020 should be redone because of unequal treatment of voters
throughout the state.

[35] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free
exercise of religious beliefs and violates Matthew Shepard and James Byrd Jr. Hate Crimes
Prevention Act.

[36] Order CHINA to allow the residents of Hong Kong to vote on become a territory of the United
States for attacking the United States,

[37] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States
for their part in help in attacking the United States.

[38] Combine cases 5:21-cv-00299,20-1805, 20-1449, 20-1422 from USCA third circuit and 20-5143 from
the USCA DC CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern District of
New York, case 1:21-cv-00213, Cl-20-01310,ClI-20-08-039 from Lancaster court of Common Pleas,
and 1:12-cv-00401,1:21-cv-00440, 1:21-cv-00445,1:21-cv-00586 from the District of Columbia, 2:21-
cv-00031 Western District of Washington, 1:20-cv-00099 Eastern District of Missouri, and TRAFFIC

CITATION C6598201-1 and all other related cases Mr. Cutler has identified previously and this

case.

[39] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-

PAGE 54 of 356

 

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 119 of 136

12.

[40] Order that case CI-20-08-039 VIOLATED Kelo v. City of New London for the property at 511Avenue N and Mr.
William McMicheal be compensated at least by the same amount paid to the estate of Vera Cooking at auction.

[41] Order that the American Rescue Plan Act of 2021 be declared UNCONSTITUTIONAL since it EXPRESSLY signals

out aid to FARMERS that are BLACK and all funds sent be recovered from the People’s Republic of China as a

 

PENALTY.

[42] Order the FEDERAL QUESTIONAIRE for purchasing a FIREARM be altered to ask if the individual intends to use the
firearm to MURDER people and have copy sent to the ATF so they can be charged with MAIL FRAUD, as well as
perjury.

[43] Order Susan Peipher Esquire and other lawyers guilty of similar activites, to be barred from participation in the
Federal Court CM/ECF system.

[44] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds, or
on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler’s activity.

[45] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[46] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler's comments on
youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[47] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[48] Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[49] Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain LORD
AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death and
combined with CENTURY 21.

[50] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting the
coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact MURDER
of Jonthan Luna)

[51] Order CITIBANK pay one million dollars plus three times the amount they allowed to be stolen via mail fraud from
Jeffrey Cutler and Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to
commit mail fraud,with their surrogates such as Midland Credit Management of San Diego, CA. Starting on
01APR2021 the penalty be increased to one million dollars per day for continued violations of the fair credit and

reporting act.

PAGE 55 of 356

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 120 of 136

[52] The constitution should be ammended to allow all citizens of voting age in any prison the right to vote for a
representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The
total prison population shall be added to the census for the country. No additional seats shall be added to the house.

[53] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote for
a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The
total population shall be added to the census for the country. No additional seats shall be added to the house.

[54] The government shall establish a set of specifications for the minimum features a health plan shall contain to be called
copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[55] The intentional termination of life by any third party for money for all individuals from 84 months old after conseption
to 30 months old after conseption shall be considered a crime.

[56] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge and
individual charge.

[57] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL IN THE
COMMONWEALTH OF PENNSYLVANIA SHOULD BE DENIED because it should be an injunction pending Appeal.

[58] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local
specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[59] Judge Rendell should recuse herself because of her involvement with this case, dating to 13MAY1985 and her current
spouse involvement with the Insurance industry.

[60] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[61] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place by
the president of the United States.

[62] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and if
they cannot be segraated ail votes where they are mixed should be discarded.

[63] Order Tami, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken Krieger
be compensated at a minimum of $250,000 dollars

[64] Order the heirs to the estate of Micheal Rosenblum be compensated at a minimum of $250,000 and at least 1% be
paid by officers of the Baldwin Pennsylvania Police Department.

[65] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
O3SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[66] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,

including both children of Budd Dwyer and the individual Mr. Smiles identied as “kK” living in his car via email to Mr.

PAGE 56 of 356

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 121 of 136

Cutler.

[67] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and
Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment of at least 10% of
their NET WORTH.

[68] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used instead of CARES act
money to balance the Pennsylvania Budet

[69] SEPTA needs a temporary route 377 (it means minus 1 in octal) to make up for the closure of the Market-Franford
station at Sommerset. It would go from Huntington to Allegheny stations with free 1 hour pass for the Market
Frankford line EL, to compensate residents for the poor job SEPTA and Leslie Richards have been doing. Mr. Cutler
has previously testfied about a vision for SEPTA in the future.

[70] Leslie Ricards should pay for the Driver salary for Route 377 from her compensation.

[71] Have the deaths of George Segal and Robin Williams be investigated to see if they were related to BAD ACTORS in
the FEDRAL GOVERNMENT.

[72] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[73] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[74] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[75] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

[76] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter, and
Dion Williams.

[77] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify under
OATH.

[78] Order Traveller’s Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[79] Order every employee at PBS/NPR especially BRIAN NAYLOR, to dedicate 10% portion of their pension or paycheck
to a fund or face prosecution for 18 U.S.C. §3, 18 U.S.C. § 653- ACCESSORY TO MURDER AFTER THE FACT,
MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

[80] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www. youtube.com/watch?v=xqngkJolrBk </ref>>

[81] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
<ref>hitps://www.youtube.com/watch?ev=Coxy7gXxOJtA </ref>

[82] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>

PAGE 57 of 356

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 122 of 136

hitos://www.youtube.com/watch?v=DJOB2DINNsY </ref>

[83] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
hitps://www.youtube.com/watch?v=7-w5NZYUICO </ref>

[84] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www. youtube.com/watchev=WQfOwB-k7yQ </ref>

[85] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
hitps://www.youtube.com/watch?@v=xNdTBw7z_aw </ref>

[86] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www.youtube.com/watch?v=DV-92HMNGuY </ref>

[87] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www.youtube.com/watch@v=ONc7g3PqtOM </ref>

[88] GOOGLE is guilty of violating and in conjunction with every other news media including ABC, CBS,
NBC is guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

[89] Kara N. Templeton, Christopher Leppler, Judge Nicholas G. Garaufis, Judge B. Denise Commins have
conspired to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and pay a fine equal to their
pension for 10 years.

[90] ALL PENALTIES THAT THE IRS HAS LEVIED AGAINST MARILYN CUTLER SHOULD BE VACATED because OF
MAIL FRAUD.

[91] Dr. Levine and other PUBLIC health officiais should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any
payments made to them, and pay the equivalent of Sociai Security Death payment for everyone that died in
Pennsylvania and the United States, as well as all media organizations that also participated in the deaths
(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[92] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with engines
from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and provide new
capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[93] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED §$ 250,000

[94] Order all individuals that have contributed to the Pandemic Destroy America Fund pay twice the amount paid into

the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, Michael Bloomberg, George Soros pay 10% of their

PAGE 58 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 123 of 136

net worth as a fine for trying to destroy the United States and electoral fraud and the constitution as well as all similarly
situated.

[95] Order all Government employees that paticipated in any of the mentioned crimes pay 10% of their pension into a fund
to allow equal justice as well as Karie Couric for her support for camps for reprogramming. <ref>
httos:/Avww.thequardian.com/world/2021/jan/12/uighur-xinjiang-re-education-camp-china-qulbahar-haitiwaji </ref> AS
WELL AS STATING 6 MILLION WAS NOT ENOUGH.

[96] Besides the conspiracy of Amazon, Twitter, it should also include Wikipedia, Google and others not identified, for
trying to elininate GOD.

[97] Mr. Bezos should be incarcerated until Parler has been made whole, and he pays everyone in the United States that
lost money $ 2,000 , along with the president of ABC Channing Dungey, and James Comey(Approximately 400 billion)

[98] Order ail charges against Donld Trump and associates be vacated for violating FRUIT OF THE PISONOUS TREE.

[99] Order Jonathan Cari pay an amount of 1,000,000 or face aiding and abetting charges with concealing the Bio-Warfare
attack on the United States, and providing Aid and Comfort to the Enemy.

[100] Order all federal employees of the courts, that violated the law, especially the clerks pay 10% of their pensions for
providing Aid and Comfort to the Enemy and violating their oaths of office

[101] | Order the case be remanded to Missouri as part of case 1:20-cv-00099 with the Peoples Republic of China

[102] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

established tenets or teachings of such sect or division of ANY religion in violation of the U.S.

Constitution amendment 1 and declare the ACA unconstitutional , based on the 89 page writ of USCA case 17-
2709 on page 314A, and Supreme court case # 15-632 plus the writ filed by the WHITE HOUSE as 19-840, 19-1019

and Declare that no jurisdiction of the United States can dictate the proper way to pray.

Dated: , 2021

 

 

BY THE COURT

PAGE 59 of 356

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 124 of 136

ADDENDUM

 

 

 

PAGE 60 of 356
Case Be 4 Bie 8e Boe une tE eee Ba gel!4" Ob aRe riled ST it £3BOS pe

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

January 8, 2021 (202) 479-3011

Clerk
United States Court of Appeals for the Third Circuit

601 Market Street, Room 21400
Philadelphia, PA 19106

Re: Mahanoy Area School District
v. B. L., a Minor, By and Through Her Father, Lawrence Levy
and Her Mother, Betty Lou Levy
No. 20-255
(Your No. 19-1842)

 

Dear Clerk:

The Court today entered the following order in the above-entitled case:

 

The petition for a writ of certiorari is granted.

Sincerely,

Gull &. Yous

Scott S. Harris, Clerk
21-¢V-01.609- 3. Filed 04/15/21. Page 126 of 136
CASK ESSE Bosument be Bade “Bate Filed 84/01/2024

UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No. 20-1805

 

Jeffrey Cutler v. Speaker of the House of Repres, et al
(District Court/Agency No.: 5-19-cv-00834)

ORDER

No action may be taken on the motion to reopen at this time. A motion to reopen cannot be
processed until either the docketing and filing fees have been paid to the District Court or a
properly executed motion for leave to proceed in forma pauperis filed.

 

The above deficiencies must be corrected on or before 04/15/2021. If the deficiencies are
corrected within the time stated, the motion to reopen will be submitted to a panel of the Court.

For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: April 1, 2021

JK/cc: Jeffrey Cutler,
All Counsel of Record

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 127 of 136

ZE CE case Search Calendar © ee OrdersiJudgments Briefs XML .TXT

If you view the you will be charged for 5 Pages $0.50

General Docket
Third Circuit Court of Appeals

   

 

 

Court of Appeals Docket #: 20-1805 Docketed: 04/21/2020
Nature of Suit: 2440 Other Civil Rights Termed: 03/10/2021
Jeffrey Cutler v. Speaker of the House of Repres, et al

Appeal From: United States District Court for the Eastern District of Pennsylvania

Fee Status: Due

 

 

Case Type Information:
1) civil
2) United States as party
3) civil rights

 

 

Originating Court Information:
District: 0313-2 : §-19-cv-00834
Trial Judge: Jeffrey L. Schmehl, U_S. District Judge
Date Filed: 02/26/2019
Date Order/Judgment: Date Order/Judgment EOD: Date NOA Filed:
03/04/2020 03/04/2020 04/14/2020

 

 

 

 

07/10/2020 45 ECF FILER: LETTER on behalf of Appellee Fulton Bank. Appellee Fulton Bank will adopt the Appellee Fulton Bank
requests to join in Appellee Verizon Pennsylvania, LLC’s Motion for Summary Affirmance on behalf of Appellee
Verizon. Certificate of Service dated 07/10/2020.Service made by ECF, US mail. This document will be SENT TO
THE MERITS PANEL if/when applicable. [20-1805] (JAT) [Entered: 07/10/2020 04:16 PM]

07/14/2020 A6_ ECF FILER: Response filed by Appellee Verizon to motion. Certificate of Service dated 07/14/2020. [20-1805] (BLC)
(Entered: 07/14/2020 01:00 PM]

07/16/2020 47 ECF FILER: LETTER on behalf of Appellee State Farm Insurance. Appellee State Farm Insurance will adopt the
Verizon Pennsylvania LLC's July 14, 2020 response to Appellant's petition for summary affirmation, pursuant to
Federal Rule of Appellate Procedure 28(i) on behalf of Appellee Verizon. Certificate of Service dated
07/16/2020.Serice made by ECF, US mail. This document will be SENT TO THE MERITS PANEL iffwhen
applicable. [20-1805] (SEC) [Entered: 07/16/2020 02:47 PM]

07/16/2020 48 ECF FILER: Reply by Appellee Fulton Bank to motion. Certificate of Service dated 07/16/2020. Service made by
ECF, US mail [20-1805] (JAT) [Entered: 07/16/2020 03:52 PM]

07/16/2020 49 RESPONSE on behalf of Appellant Jeffrey Cutler to Letters to the Clerk of ECF 35, 37, 38, 40,44, 45 and 46 in
Support of Summary Affirmation Because of Obstruction of Justice and Conspiracy to Commit Mail Fraud. Certificate
of Service dated 07/16/2020. Service made by ECF, US mail. (JK) [Entered: 07/17/2020 06:26 PM]

07/21/2020 50. ECF FILER: Motion filed by Appellee Haverford Township Police Depattment to summarily affirm. Certificate of
Service dated 07/21/2020. Service made by ECF. [20-1805] (RPD) [Entered: 07/21/2020 06:36 PM]

07/27/2020 §1_ EXTENDED RESPONSE on behalf of Appellant Jeffrey Cutler to ECF 35, 37, 38, 40, 44, 43, 44, 45, 46, 48 8.50 in
Support of Summary Affirmation Because of Obstruction of Justice and Conspiracy to Commit Mail Fraud and Other
Crimes. (JK) (Entered: 08/05/2020 11:42 AM]

03/10/2021 42. ORDER (Clerk) dismissing case, pursuant to F.R.A.P. 3{a) and LAR 3.3 and Misc. 107.1(a), for failure to pay the
filing fee for the notice of appeal. Case terminated on 03/10/2021. (JK) [Entered: 03/10/2021 03:28 PM]

: PETITION filed by Appellant Jeffrey Cutler for En Banc Hearing Beacause of Crimes (18 U.S. Code Section 1519 -

Destruction, alteration or falsification of records), 15 U.S.C. Section 78dd-1, Mail Fraud, Equal Protection and to
Combine Cases for Judicial Efficiency and Summary Affirmation, also construed as a Motion to Reopen . Certificate
of Service dated 03/17/2021. (JK) [Entered: 04/01/2021 03:43 PM]

04/01/2021 54 NONCOMPLIANCE Order sent to Appellant Jeffrey Cutler requesting either payment of the filing fee or a Motion to
Proceed In Forma Pauperis. Compliance due 04/15/2021. (JK) [Entered: 04/01/2021 03:48 PM]

 

03/17/2021

 

 

 

 

 

 

 

 

PACER Service Center

Transaction

Third Circuit - 04/06/2021 06:24:06

Login: Code:
on: Criteria:
llable P

 

 
Case 2:21-cv-01609-CDJ Document 3 Filed 04/15/21 Page 128 of 136

 

Home > Contact Us

Contact Us

Hfyou can not find the answers you are looking for In our Commonty
Asked Question, please use the form balow to reachaut tous, Selecta

si your: oe dick the
“Submit” button to forward your question/request to the appropriate
contact.

a:

 

Gontact Resources

Event requests for the
Attorney General

  

26th Foy, Scquas
‘Harristarg PA17120

 

 

 
    

oo FAI-787-3394
For Right-to-Know requests, dick here. Reglonal Offices
Name * “au
. oe ‘T87-7B7-8242
JEFFREY CUTLER ;
Fist us FAF-767-3391
Press Office: Pe
Emalt * 217-787-5214
sscetetesesstetnusseitesetee oe secoseteteervie Hebinee
‘eltaxcatlector@gmailcom ettaxcoltector gmail
: e enieeihiniasneelnan ‘Chita Predater =
Enter Eni Cortina Emat ‘$00-385- 1044
Phone Number ‘Dives Tip Mine
| 800-442-8005
{717} 854-4718 Sestor Protection ~

Questions Concerning *

   

[Complaint Against OAG Emg. 3

Questions *
PAGE 9 OF THELINK BELOW 1S TIME STAMPED PROOF OF
ELECTORAL FRAUD, ORIGINALLY FILED IN FEDERAL COURT
‘2OOCT2020 PAGE 169 OF CASE 20-29361t<ref>
hitpsy/fwww.courtlistener com/recap/govuscourts pamd 127057
égovassenutts pamd.127057.18 LO pdt </ef> THE DROP BOXES,
1N PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT
HAD TO BE AVAILABLEFOR ALL VORING METHODS. ALL
VOTES VIA DROP BOXES ILLEGAL AND COVERED UP BY
FEDERAL COURT CLERKS, JUDGES, MEDIA,
COVID-4915 <refohttpsvenwikipediaorg
Hiiki/Blological warfate </ref+ NOTE CHINA GONE FROMLISTS
THE TESTING KITS ARE TAINTED AND HELPING TO INFECT
PEOPLE AROUND THE WORLD <refohitps /Anerwgovinio gov
Joontesit/pkg/CHRG-1 S0hhrg53 18YntmVCHRG-
‘$10hhrgS316htm </ref> <ref> httpsvAvawarytimes.com
1200803 /0S health /OSheparinhtenl </ref><tef>
bitpsv/vewinedatimes.nomvarchivesfla xpnt-2008-mar-20-na-
fda20-storyhtmd <fref><ref> httpsvjenwikipediaorg
#A8i/2007_pet food recalls </ref> <ref shttps/fiwewlatimes.com
fousiness/story/2019-09-18.carcnogen scare-taintad-
zantacchef>
DR. EAUCCL KRISTEN WEEKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from
the FLU & COVID-19 <refohitps/Avwwfuturemedicine com
#doY 10.2217 ca 2020-0082 </ref>. They are tated
PNEUMOVAX23 and Prevnar3a which are the PRIME
COMPLICATION TO THE COVID-49 that reautt in DEATH from
pneumococcal disease <ref> https//nwwaiabetesorgMliabetes
Anedication-management/fiu-and-pneuinonia-shots<jet>.
KRISTEN WELKERS HUSBAND IS A MARKETING EXECUTIVE
FORMERCK. On 21DEC2020 Jeffrey Cutler filed 0167 page
AMENDED PETITION FOR REHEARING ENBANC AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES {1BUS Code § 1519
~ Destruction, alteration, or falsification of records) & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY
AND SUMMARY AFFIRMATION In USCA case 20-1422 at 238
PM. The PREVIOUS document from 14DEC2020 that Jeffrey
Cutler filed 2118 page PETITION FOR REHEARING ERBANC
ANDO INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 US. Code §
1519- Destruction, alteration, or falsification of records) & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY
AND SUMMARY AFFIRMATION never made it to the docket. On {
23DEC2020 Jeffrey Cutler called the CLERK atthe SCA and
comptained the docsment is not on the DOCKET the CLERK
HUNG UP THE PHONE! On page £27 Is a copy of the fetter sent
to Josh Shapiro.on 20JUN2017. On page 1221s a Mall Froud
Complaint against Josh Shapira. On page 121 Is Josh's Press
Release an DACA. Mr. Shapiro is called a Sonnderkommando
tvace in the petition of 21DEC2020.
<tef> hitpsvjenwikipediaorgy/wikv/Samuel_Witlenberg <Aref>

 

 

 

 

2B

ye

bey

 

 

 

 

Are youarobot?

Contact Us

if you can not find the answers you are looking for in our Comenonty
Asked Question, please use the formbetowto reach out tous, Setecta
topic that ibes yt é dickthe

 
  
 
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 

866-623-2157.

Consumer Protection.
BOOMS S-2555, ‘

 

Public Engsarment =
600-525-7642
HestthCwe
877-258-4877

DoNet Cal ~
B38-777-405,

DMatitary and Veterans Affairs —
FAT-784- 1944

Home improvement Conimner —
288-520-4480

   

Hone improventent Contractor =
747-772-2425

CHRIARegiiatory Compliance =.
215-937-4378.

Contact Resources

 
   

  

Event requests for the
Attorney Generat

    

‘46th Floce,

 

“submit® button to forward your question/request to the appropriate
contact.

For Right-to-Know requests, lick hete,

‘Thank you for contacting the Office of Attorney General. Your
information ts beingreviewed. SUBMITTED 24DEC2020 07:50 AM

Harrishurp, PA.17129-
BP IAP-T87-3391,
Regionsl Offices

Fax:
FAP-T87-8242

 

 

 

 

 

 

 

 

 
Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 129 of 136

Report and Recommendatiow

SEPTA FY 2020
ANNUAL SERVICE PLAN

 

Eugene N. Cipriant
Heartng Examiner
June 10, 2019

 
 

Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 130 of 136

-8-
PRO By ARM BOyy JO Seg UODAUIp Sud Woda MUOTRAaY Jaden) pur gaqusa Supddoys a ayy oquy yes!
DosR (eal sg ode AGE 1 fa MULL) Gudea apy Be OS NOG SAU SON OU) UES EeaOe wtyso ped Sumap pe
my poss diysincy picpaney pur. diysunins apliere Arend Opes 8 Wt coe MAN TIAA, ALY BISA
angd 07 Jom 5] quatyy aes og Sagoo spy Laas a5 uaquso Benddags aig copay Dupo Aq ajig ayseyy ya,

Leip u Lancia) asUmE uy WouleS y L ASS Aedes OUR Gpul RkoIo0 CyeM sans RID aay Pum ops |

Ona 7 JO opps JoUO Bug HO Buypouuas ey jr ares Buches wag Syy Jo uadapeaep ayy Ayeald

“EE-TE “ie (SORMaS Jeu Rupe TUIppa pe AODY CO yy LAaS 40g WING se WE Queer gues
JOU]; OA} Raye soy po pn pupaued capuapy peuOdE pr oe LATS Fur) “MeO ary Jee be
mwa yonayno aioR funep uo Tusuueyl 2 pies. Puoemoney quoUEsenepy wonmncsueL 5] WRLE quo
SURE LM BLOM S| LAS OM “Mem GUNES URL NS Sune RUOMppe auios Opn wayyyse
CA DURA Usha MeO Libary ROU YAN I yf dy Pu oo dae, me Oy MUR SaY Jat oy diyRiaRaS
“APN, "Shh JSR ISA UG aagUas ages ch Paledaudl ag Yi ReNyoOay e IRLY PUR NPR UES
SON gd RUSS Wy) aya NOQE susNTUCO TYMBIC “A PUTTIPHE Hep Y Lass BULL “LEE A SaeE sg 2g
Pandas oq | cy way JeTID, IERUENOY ‘Tyg “IRMoOsg Ul Sup (eeplayy apzeay ata sayy — Asay
SSA PRONE AT] essed RARE BULL URIS, afk AY mYD-Os Duly ETT SbNow pd a WO yDeg Id
4 921 oinoy sy grit saeBees Oy ~ueyJom Jo) dynpaadse “Sop mudi ppm ky gjss pits (geqienuindins]
TOR AALS Pe Boy Aa] YR SOR RL YN Gdasudloaaape gafinn eyeing SH ApaE pS
JyuunS & quaduogdiun a] JOU PUR anaued Be L wamoY say up saucy soy. pare pupa py

“SE LOM ‘Sayroy sng wequngrs ny dap ot pure PSTSY 89) AQ aug) begayat
Rall] IO SGN GE Aue, 3d DONA EOIN DOLASES quRnbsup, Ul ARIS @ pasado ospe (yo) Upy

"BECLN “JOPIROO 7G FINY UR ReOo tp ro O11) BONO, fudm a) 68h [Ee PED yd as

“HORBUNE Tih PRU PME AIIS 55
LEAR) SPOEPIUY JOPILIDD PO Ase quan Bue see Apeespe [epeg] yp Mou ferpapy oy

SEN UOp)u00 soe quembax 2 icy suopesyyenb
JAR Bue jeeuooag 93 pp Jams 69 Woy Bua] dep ye douanbeasy su] aay fede MOA WG [UO Be]
Wed] Os Aue Lnoy agy wed] a2 be Lanes weQeuedsues aoe Ga] Wee), O71 TTT ancy guy payseny,
TON YOUN “RECT EN DOURYY pur Teg 60 UeaNgad saqnunu pT Aaa aoy purpuRys yogtuicd
SCune JumNbaUy Daa IY IaH OD Sana BIO] MUNI “OT PAE OPT ‘ELE ELT HOT SeINOy oh ~ tony
ARAL) Aaya See Rep pO Byes Sey PAE Ob UE UN SRUEPAIERS Gun eye JOp]UEO Jeu
“SION ae Glen GeLguIET [Pk] “Reyne gr uae Bunun Jo sputpurys sopuas yuanbaa) 94 Jou Jou
Dp SR Te Se, RSL CuO phos iN Yel ds SIMI Ep LUCD sapusE quanbeup, spac 943 yapA pooeydou
2g O30) Soyer yuaNbaY, SPiOVA TU IEYT Payee ayy Yee ULES ‘yROqRaRy Suees WoURLy Rigel oper
LEI Ociealaipy any] ld Joye py YOodOE, puede Ueypodouy CCR paged ayy IO} dao Aaesan par
HSURL, PUR HIGGS] & “SIA Gist AyAG-HY S]] Jo deploy ust quApIeIY ee) seed

‘SE CLN SWOnaaTday Dy Lads SAmMye a Las yey peice sem
TOUMOIA AM) SE-E2 LN UUs 2 ub 8] UO RROD] fuanooI aly Semyg gud 0] O81 09 eoIERUad Jad JOU
RUNG LagS SENeIS NG WUCU Leo Ba OJSC Re PAAR GOLD] AmaNted au] 3EY) POULCL som
3H “Ud e30) Atonoaas O47 pur pp aINOY Si SSneIp aa poeM o6y yee ayods eppRayy UopURt”

‘EE UN *Aauous yo cqunoue quesyudis, wyg95 amas ” AAO) SS preyy eo pp ROY} AMC, Ge
SRILA. SHUT PSG LGERE UaIE Hn aL ony dai 0 oS pmo geyg dey}ouy seep & Peng gyros Aeucus 577.
“OSPy “UOLBUJSIey UY Due JRdtS tr og 6G AN RGU Win Laas pereNeyg Panyu -jeapaeyy

 

 

- a -~
ae BUR Tags BY WIG “Asura Ge NY TE LN * PMU TRH I YT BP SIRYOR fo Sucay se
sqgumuel, oF Aen 8 SE Cpe eE ogy ayo POEUN BARR ER Sep Buy puaka yoeq aE pus sel
ayes ap peaasul— AUD Ag —wey ees hed adead Bupa h Aq Sua gyenmctien sayy Pe Sloss [OOS
‘ye qase doy Maced degy PeeuUM soGue ogilncud cq vem & Se CUD TALET. Peo pesodoud Sumer Aeuous
& peysaddos Sy “Ana 0) Ran seen “epueay oud UTE Sogn Oo Wry RLY & “ong AGyer

othe EN Gay
oupudery Faueay oyy op aired aug AQ pa pengers aye

a [pr any auaae suas Oty POE Ly “SAN USTEidal yidas dcp puuIMSUR aaa Ya, SaRseOb pay pur
SHunmay sya ayeds [g] xe pur sul, iQueiRadde pu Appi ayy yo saga [pT] deanog

Sra

 

 

     

Teas
1 QU Seat PU SPR peI, TO Syd Oy SORE, aap, yAode wo RRULiO |

“Saad Lees POR Qumupedap YLdss MYO JO Unga pied si) SAgRUO,
JW) $8020 [LSI ead. aanuRg au 2g) Coen aggnd Ue smoop sage 6 oy aap pEE Uy) pear
at jou /[|/a SyuaNS eeu, jo uRsEeD HL Yeas Buus y 2298S YL d IS AA egy oO AgjUN AIS BUR La
SalOMSroopald pur sje eUManpe pus Mei apn EA pee Peso ay FAM eos
Peano 10 CATLRO YouRN .ofew tod paanzey yaRanE oped jo puNes RUCORpS ue APA) qh Seago.
payed myy sso udsusud oa aoMas ayy jo Laprubdae id 3] SBE POO URILUbIIEU mL Ae

“UO Aap Bigeye mur lee Say day,
PUR DOUALA Sy Lda Japun oy pine opi ‘sau JePueied Oy 20g Tuiqunas vayepap was Uy
RYUMST Hy) CUHLeMa aug Legge squdye pale seabed OOO E Sun aay oem praia eg SO, say ba. Hurddos
ayy OF UOHaIAa By Sse] ApeD oe uc WOE s6y). INQ. Tuyen satuasred qe’ e Ayageuaoddde
Sue auc] ‘squmco JaGiessed Aen yadue diysumpplquaoes uo pose RUE May ean peg oy ode apease
Ty FINGY ue pagUaWWALN Doneap © yo opulent Gee 8] SO) “SHIOAA URYTRIFOpRS SUN Od) AQUEPS tL

“DEVO RAO) SAISSOd any Sa epEpoN oe PausuUpy og (1a PEoUSEU)
OARUnt [YS RA TAAL JOU Op peu SluaeO Jo Suey: Buys] “uO euAlueydua Joy poapusumucosa
ag ch lured Ue UORONen @ Woy sayin JaBugesed Qube jo pHOUseuy, AF IUTope spLeuicoss
Supuueyg ayeieg cepoa weed Jo. bopraep leLg sean seBunssed Jo span aay suWUagep 69
GO RL Jo usgzed 9913 Bucs 34a uns peng po JaquinG al dg aaqUunu yey Repti 4] ‘saggy WNeinap
Jey] Bey UL aeuyy {oO WunOWE al. Ag Bo Rap uo Mare ¢ edo) Muqangy eizpu jo sequanuocy
Bundpdaima: Aq manners Deg y Sm ie jodi) Sip seypquenb epnaiaiag ete ugeuncl Bhd FELL

“AP RIQIO) TEM LE SLs UoQeodsumy wruoday ayy poe ucHRuyseya “OQqeas LH
oaLepy Ayunep Surg Huypnpuy eanuaBe guy aye Ag pas Geylang JERS WHO] paydepe $1 “huRatucgsn]
Sumafinayy UO ICHRINaD JOU ATIES REE Sedat Alp, Sea Les “One| qa I) “sued
PUR URN ABE seitias LEEKS GO) BIRD SOOUIEMEY aise & pope oy Baeedcudd ar yydqgs

“UT WLS Jy SEH 0g Seaoae BSR Runes pM
Fanos VO MyEArdIn) Joy Syep|PUeD RE PeEpINUOS EPO] “TAGUNONER po es QUERTIER BICOL e payee pur
Saeed BARRA Cnp pouogey came dan ogy yuonad yaw Bud dey WRAY] yl S035 aie AU)
 

Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 131 of 136

~€T-

SET Se
ST £2
Sa a nay

(OG MOlaq TE SLEeURYD URQINANS WM SAL}

GET zs
BST ant pueaagog
BOT ag
rT TS
LT 1
wht 5B
LT gE
Tame Tepe aG ANGE
ISBT Aagyag. 10 ge sNOY]
ong yan GE

“SOURS BAe JeAd Bigs cage GY. JOU We Ul SO] ZRDYIPOU aurgRy Jey pe sapesuD Sq yu pun
aja] Cte Mugpads appiplecoe op moje ye sano Buyennyjoy aq). SLR RUIEY Taped snoues
SUae Dep On] PUULUG BIE 3] SON [ego vpsdyeuE paEEp 2 UR sopuAS ROMY guy ped © sy

 

“UO, BO UReedde sy poles qiapedag duaueps
AQUI Baa] YY Wucay sduysey sew Ayu “AETETOQ. ry SSOLE TQS ay Ty GIO OY

She 62 AEA Wd Os — SUES RE WIRE

ASPET, ALOR Apa Relat) Ld aS Yea ae pus ‘ep pdppepy”: go AID Sy 30 HSL EG!
AWIQCUICQENS pup ai itashipa aetasdsuEe jo osgtO SEPERNI AT Ot” “sadoney Samu) @crpie
AYE! POU Pp Onde Bupesy epdiapeqyg uoEgy sey Ie SIO) ASUS Ree Pass Shi, Besta

/ 2S .DN “Bosap Bunayai das seu OF eu gf Aeow ene
INCH CORA Lublados on Algige aug any you Soop yy AIS yey Tees Aq pesos sync “ayy

BS 7259S LN SGA tp) Ooues Leap Bupas | seuoux) yam, 30j] dele,
WAdS SUB IO Jers Wd aS ahs A peu ioyLy seen oy pie oq oF fod s aIyan wagers yeu ap sng yesU ay]
SUB YG pals Oy PUBS Bq Cyne TeesEREL IAD BUTIQW, SumAU SP WOd oy WLdgs Pepe Uap Ly

 

~?T-

"25 Loy | SRUOUs JO sanesOg pre Weed Sely BONIaS AyRiyuroset
Pur Agu Oy WP selUGy. YR SIYg,, WI peuydo ay wuneped jaLy OL yorg uuET J9]IND Pragya

SS-#5 (LN “Mods peAyo gp eed ces au] poads yay wmogUeH
FU HYD POUAROAI 444 apy “Vodayy -uOpENny soMeUEue” Sanoy ayy uO Amragng yaeng PCy ayy Ia
POQRARYG POL Uead- 188) Aug “OUTy palaces YSiy Uys LCA) SUBS yOu pup Legume ayy “Kyoule

MEG-ZGCICN “SRO OU IO UNS AOU PAL PRU PE 3D WORN] SA BUY] JO) Peay agg AIR [A
Beury JO he) AGL Ug “ast Suede yentis we sen] jo any pay Btyy WO sod [ge] Me “ase
ARR eR Go uaBuareed sre Bupluies “Oges Buyeads ape cual spaBplaeys aauRuOped Uo wap Aer sf })
“BPR! (AAD) ae St gf STI TOL POU BY SING ota yy saan [aos gyBU (/e) FaU I cet.

TST “REY Suan aq Ama SagtOs
FS PWG lo SUD CTE Site O44 SAGE PR PMC Oo SEG RN , MAB mre Gp sudusssed
Stunde? Whaat wy mouy oR page Lay Uy RING) JaSuomeey spun yy oy Bupsatiny

: “TS i SLE paacts phy awe
AIORYS [C1 Buy, of DORUppe tal scocs [fe Ye ax) WIR GSAG Aay aU tcg aysOry Sar} IrYy peeyse sEOyy IY “uN!

“TS OS TUCK RR Ropises pagan len eyo aluere
AOE Sg on (RRA POL) Be. Og Panes) Oh Aa OEIC RRL] UDI EO Nag. tics SpE p{AL pH
SeOpek LMU EG. GIP ST ID peyeins oy aeEo! Ue POY), jer MOBHRE ayy Joy page
PAIS SoQMcur gopins eu] ICY PI Doo ube opm g Aue nok Ok pan Ua liaet AY

“RELY Toenon eusasul teey Ajooutua jo Bara
RAY PIOUS WLGoS (BRESNISTp Pred Suden SOU Noe? [4 BILL Ors pY yisued | papa]

‘OS LLIN “SHUN Jeong Jay Sumo yRed Joy apgepdacoe £45 ypoad gpa ‘auup yo spajsart Burg
ary. Ajepadss Gu oun uo puEe aydeed Bune ag you pINOYs Nos “WuAuO © 5] sIoIRYy peTy

OCICN AIS sane sae, segnuys ge po Deepen amg pucdeg Sunsou ny squnmns aig ui
POPUP GO Snag “SYINION, 2 JO EM wen Laan ay — saymuluu QE aqepynaus somes po Aouenbaig

“BRUNE DADE shevege an ore Amen sven),
Dene Fy SAjy eodde 9 pas shepuns Due Sheps bo pepe URS Ge peptela pH st aon aeS /

Tara ON Aap sole x 5) erudapepayy eoues iB ay jo pile og Op Buusow
SU $0 UGgE yy WKN Sq you piMoUs Bayer yo Weds aq] Possmanpe pre som sapuAg yo Agen

“AO UN CBNeUELU Sr ayer oy oye
SY CA SSO 0e RT Ge GSO RaTCO SG YLdIS eK SSA BY “Peoy spepumE OY. UO Kung pueY ging e
RyTUL OL says & eeod us) poe mas Bupddous aup yo asneaag ays msaigy weay, Le dow peng apieg ape
10} 8 TYRUU OU Sao SFT ayy ay) 194) Pave Ajenyoeds oH ope ies oq page days pus ur yng
GOUEIRE G Put GO\s 1a © BAL OF esUed SHYRIY Yl Prenayeg yenesoay ge ors Burseous aqgnose ag
 

©
o
4
_—
oO
N
o
4
oO
o
©
Oo
od
N
~
LO
a
t
©
To
L
re
o
~
Cc
oO
E
SS
oO
oO
Qa
ry
Qa
2
o
oO
©
a
2
>
°
od
N
N
aH
©
O

 

 

 

fe NG

ery

 

Retail

 

US POSTAGE PAID’

 

or Gigins 19083 fF
9 55 oo/t121

av rie 418885028219 |
awh . .

 

 

 

“ sa, p

4

3

 

Non

“SHIP

TO;
3605 §
Washl

RHORITY MAIL"2-DAYO,

+‘

af, 8 Lb 500,02

wees =" 4006
Af “EXPECTED DELIVERY DAY: /pBe/21

a

é

TERNATIONAL PI
ton DC 200ua-

 

 

 

 

a

"

ft

te

- at
*

 

ee FLOW TO MANUAL PROCESSING
; Mbthh wilh laldsbidlb Lt thtlleb ltt ddbs tbl

| FROM:

nes ATES

vee eee bee eens ele annem ee col

“R-T=S-  20008-RES-IN

ae REFUSED ‘
UNABLE TO FORWARD
.BETORN TO ‘SENDER

nna aR

 

 

 

AFFIDAVIT 1:20-cv-00099 Page 7 of 8
DJ Document 3 | Filed 04/

ROG. MWB Document 181 Filed

4:20-cv-

Case’ 20-2936 Document: 29 Page: 169

PA PA Media

Department Of State Tells dou
Voting Systems In Place By|Er

2: 1609-
ESs6 03078:

f

04/12/2018

Harrisburg, PA — Acting Secretary of State Robert Torres loday informed Pennsyk
voting systems selected no later than December 31. 2019, and preferabiy infptace

y
the commonwealth will receive nearly $14 milion in fedetal funding to assist come

‘We have been planning for some time to bring Pennsylvania's voting machhes up
resiliency.‘ Toes said ‘The federal assistance could nol come al a more opportun

Pennsylvania’s allocation of $13.5 nillicn comes from Congress’ recent aatl

Omnibus Appropriations Act of 2018 The funding Is being distributed under provisi

allocation requires a §.percent state match. bringing PennsyWVania’s total funding p
1

 

The administration is committed to working with the legislature to help fund tHese vo
consideration of future year cost-sharing arrangements which could use local slate,

Last week the department released an Invitation For Bld (FB) for new vating systam

auditability stundards. The [FB updated an existing state-negoliated agreement with

systems that meet the depanment’s carification requirements.

“We want to b ing about the system upgrades so Pennsylvania voters are voting on

feasibly as possible, while also being supporlive of the counties’ nead to plar| and bt
i

The department is also exploring every aption to help fund or finance the upgrades, 1
local, and adehtonal federal apprapriations, partnerships, bonds, and mora. |

To kick off publ ¢ education about new voling systems on the market, the departme
Show complex The event will provide an opportunily for county and state officials. |
and options offered by the naw machines Datails on the event will be forthcorping.

Counties will be able 10 choose from among any of the voling systems exanu
Efection Assistance Commission and the Secretary of the Commonwealth. 7 dale,

follow in the summer and fall of 2048. Information regarding the examination and ced
website. The department will provide extensive support and guidance to the cpunly 8

to Ihe new systems,

Inthe meantime Pennsylvania is employing extensive measures and partneridg with
step ahead of any threats to our sectitity and infrastructure, Including comprehpnsive

and cyber secuity, training and resources ta counties ancl partners, and increasing ¢4

MEDIA CONTACT. Wanda Murren, 717-783-1621

‘e

ed and

15/21 Pa

oags 133 of 136
11/19/20

age 9 of 81

Date Filed: 10/20/2020

nties To Have New
d Of 2019

/ania’s Gounties to have voter-varifiable paper record

y the November 2019 general election. He also annour
with replacement,

6 241° century standards of security, auditability and
moment.’

pn.of $380 million for election security Zt under the

§ of the Help America Vote Act of 2002. Each state’s
age to $14.45 million,

ing systen) Upgrades, including but nol limfed to the
pind federal dollars,

s, diracting thal new systems meet enhanced security é
vendors and cun be used by counties to purchase voli)

he most secure and auditable equipment as promptly 1
daet for the new systems,” Torres said.

hcluding lease agreements, grant opportunities, state.

plans to hold a vendor demonstration April 26 al the Fi
islators, the media, and the public to explore the featur

certified afer January 1, 2018, by both the federal
one system has been certified, and several others will

ification process (PDF) can be found on the departme
pards of Election and voters to ensure a smooth transi

fedaral and stata law enforcement agencies to stay on
monitoring and assessment of risk, fortificatian of phys
pmmiunications at all levels.

 

|

 

 

 

 

 
Casephease Yottine Gis aboutpeltis? FileobO4/15/21 Page 134 of 136

People for life and freedom Jan 10, 2021, 5:33-PM (7 hours ago)
to People +

LOOKS LEGIT BUT UNVERIFIED

 

 

Mr. Ted Wheeler
1231 SAW 4th Ave
#340

Portland OR 97204

Dear Mr. Wheeler:

1 have seen your response to the riots in your city and fam

urging yuu te stick to the proven Democratic Play book.

i would like to review this with you now.

I Deny there isa Problem, (Press wall support this)

2 Refer toeverything as peaceful and calm, (Press will help here also)
3} When all hell breaks loose, go on camera and show your support
for anybody breaking the law. (Press will praise you far this,

you will be a new hero, tnest me).

4° When you can no longer keep any order *BLAMF TRUMPr

(1 cannot over emphasize #4, This has worked every time we have
used it and again the Press has told me they will support and

fact check any claim we make" THIS 18 POLITICAL GOLIYS

$: Goon Television and Condemn TRUMP and refuse any assistance?
We CANNOT give TRUMP any victory before the election’

Speaker of the House

best wishes

 
     

 
_ Case 2:21-cv-01609-CDJ Document3 Filed 04/15/21 Page 135 of 136

Th,

Case. 5:19-cv-00834-JLS Document 120 Filed 02/25/20 Page 200f22
CASBSASISIL-OORMAENICNDEIID HLLOZA'20) ReaR S306 2.0090

Case: i9-10011  Dacument: 00515289004 Page:58 pate Filed: 01/29/2020

CASE 4:16-cH 001870 Dacment 274 Filed O1B/00 Page 48 of 49 Pagel arse

4

a

 

 

 

sr stow y ~ 2

pry
ee

 

 
 

Page 136 of 136

 
 

 

File a Report: Mail Fraud

 

Your iiformation

      

     

 

 

    

 

 

   

    

 

   

 

 

 

  

 

 

 

Company Name: oe

* First Name: FREY ‘LastName: CUTLER
* Address: 7338 Wor OCREST AVENUE , ~ 7
“city. PHILADELPHIA

* State: ‘PennsyWvania eee

* ZIP Code: 19151

* Country: ‘UNITED STATES

Cell Phone: 4 Work Phone:
Home Phone: (215) 477-0543 Fax

Email Address: ettaxcollector@gm il.com

Age Range: 165 or older

Complaint Filed Against

Company Name: CITY OF PHILADELPHIA

First Name: wi : LastName}
Address: 1400 John F Kennedy Bhd _ — a
City: PHILADELPHIA |

State: Pennsylvania

ZIP Code: 49107

Country: UNITED STATES

Cell Phone: ee Work Phone:
Home Phone: (215) 686-2181 - 4 Fax

Emait Address: james.kenney@phila gov

Website Address:

 

How Were You Contacted?

 

How were you contacted? fal
On what date were you contactea? A239
Do you have the envelope a was mailed in? @yes ONo
Does the envelope have a permit number? = @Yes ONo_

 

    

Permit Number. am
Permit City: PHILADELPHIA,
Permit State:

Does the envelope have a postage meter

dumber?

How Did You Respond to This Offer?

 

 
  

How did you fespond to this offer? fUSK Hail
Response Mailed to a Different Address: Oves Ono
Do you have a mailing receipt
(Cestibod, uuredt ot Express Masij? Oves Ono
MAILED TAX BILL ON 26FEB2020..ON 27FE02020
Ra eu recone? MAYOR KENNY ANNOUNCED HE WOULD ALLOW A

SAFE INJECTION SITE IN SOUTH PHILADELPHIA

, IS ACTION BY SAFFHOQUSE NON-PROFIT
Row G6 ier Mom what you expected? RECTLY EFFECTS TAX VALUES FOR
PROPERTIES ANDIS A FRAUD BY THE CITY SINCE
AX BILLS ARE ESSENTIALY DUE ON 28FEB2020

     

 

How much did the company ask you to pay ($}
Do you have the ten?
How was it delivered?

eS
Did you contact the company
or person aboul the complaint? @yYes Ono

Date Last Contacted Company or Person: 02/25/2020 |

 

Bid You Lose Money?
Lose Money.

Payment Type:
Payment Amount($):
Payment Date:

 

Type of Pali Fraud Complaint

  
 

 

Scheme Category:
Scheme Type:

‘alse Bill or Notice

 

Additional information .

max sie 1090 chatacters (ON 26FEB2020 SAFEHOUSE PA ANNOUNCED TTS
PUTTING A MONITORED INJECTION SITE IN SOUTH 7
PHILADELPHIA. THIS IS TO LOWER THE TAX i
PROPERTY VALUES IN THE AREA AND POSE A RISK | ¥
TO RESIDENTS AND CHILDREN, THE CRY
PREVIOUSLY ALLOWED UAUNEMANN HOSPITALTO.
CLOSE AND DESPFTE MR. CUTLER FIUNG 4
DOCUMENTS IN THE BANKRUPTCY COURTIN DE,
‘THAT WERE DISCARDED INCLUDING UNJUST
ENRICHMENT. A RECENT STORY IN THE
PHILADELIA INQUIRER DESCRIBED A PLAN THAT
‘ALLOWED 800 PROPERTIES PURCHASED FOR 800 © |
DOLLARS YIELD OVER 50 MILLION DOLLARS WHEN %
RESOLD! <ref> htips Awa inquirer. convnewsiphifly-
‘dollar-vacal nt-land-property-council-blackwell-kenyatta-
'0200219.him! <fref> FEDERAL LAWSUIT 5:19-cv-
00834. Estim i

 

 

 

 
   
 

   

 

asada eRe se SAME UL Reet CM ecMe ORS S200 COT

 

Mail Fraud Complaint form submitied successtuly. 27FEB2020 1:00 PM
Thank you for competing ihe form. 1OMAR2020, 5:01 AM C#1930430

The information you provided wit be entered into our national conipiaint system.

 
